               Case 22-11068-JTD             Doc 20627         Filed 07/16/24         Page 1 of 21




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                                   Chapter 11
    In re:
                                                                   Case No. 22-11068 (JTD)
    FTX TRADING LTD., et al., 1
                                                                   (Jointly Administered)
                              Debtors.



                                         AFFIDAVIT OF SERVICE

       I, Amy Castillo, depose and say that I am employed by Kroll Restructuring Administration
LLC (“Kroll”), the claims and noticing agent for the Debtors in the above-captioned chapter 11
cases.

        On July 9, 2024, at my direction and under my supervision, employees of Kroll caused the
following documents to be served by the method set forth on the Core/2002 Service List attached
hereto as Exhibit A:

        Supplemental Declaration of Walter Bieganski [Docket No. 19859]

        Debtors’ Notice of Settlement Consummated Pursuant to Small Estate Claims Settlement
         Procedures Order [Docket No. 19885]

       On July 9, 2024, at my direction and under my supervision, employees of Kroll caused the
following document to be served via email on the Fee Application Service List attached hereto as
Exhibit B:

        Monthly Staffing Report and Compensation Report by Owl Hill Advisory, LLC for the
         Period June 1, 2024 through June 30, 2024 [Docket No. 19868]



                                [Remainder of page intentionally left blank]




1
  The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the Debtors
and the last four digits of their federal tax identification numbers is not provided herein. A complete list of such
information may be obtained on the website of the Debtors’ claims and noticing agent at
https://cases.ra.kroll.com/FTX.
           Case 22-11068-JTD        Doc 20627      Filed 07/16/24    Page 2 of 21




Dated: July 15, 2024

                                                           /s/ Amy Castillo
                                                           Amy Castillo
State of New York
County of New York

Subscribed and sworn (or affirmed) to me on July 15, 2024, by Amy Castillo, proved to me on the
bases of satisfactory evidence to be the person who executed this affidavit.

/s/ PAUL PULLO
Notary Public, State of New York
No. 01PU6231078
Qualified in Nassau County
Commission Expires November 15, 2026




                                           2                                        SRF 80688
Case 22-11068-JTD   Doc 20627   Filed 07/16/24   Page 3 of 21




                        Exhibit A
                                                               Case 22-11068-JTD                         Doc 20627                Filed 07/16/24             Page 4 of 21
                                                                                                                    Exhibit A
                                                                                                              Core/2002 Service List
                                                                                                             Served as set forth below


                                           DESCRIPTION                                              NAME                                        ADDRESS                                          EMAIL           METHOD OF SERVICE

                                                                                                                           ATTN: ANTHONY M. SACCULLO, MARY E. AUGUSTINE
                                                                                                                           27 CRIMSON KING DRIVE                               AMS@SACCULLOLEGAL.COM
COUNSEL TO CELSIUS NETWORK LLC AND ITS AFFILIATED DEBTORS                        A. M. SACCULLO LEGAL, LLC                 BEAR DE 19701                                       MEG@SACCULLOLEGAL.COM            Email
                                                                                                                           ATTN: MICHAEL D. DEBAECKE
                                                                                                                           500 DELAWARE AVENUE
                                                                                                                           8TH FLOOR                                                                            First Class Mail and
COUNSEL TO RIBOSCIENCE LLC AND 4J THERAPEUTICS INC.                              ASHBY & GEDDES, P.A.                      WILMINGTON DE 19899‐1150                            MDEBAECKE@ASHBYGEDDES.COM        Email
                                                                                                                           ATTN: RICARDO PALACIO, GREGORY A. TAYLOR
                                                                                                                           500 DELAWARE AVENUE, 8TH FLOOR
                                                                                                                           P.O. BOX 1150                                       RPALACIO@ASHBYGEDDES.COM         First Class Mail and
COUNSEL TO BITGO TRUST COMPANY, INC. & MERCEDES‐BENZ GRAND PRIX LIMITED          ASHBY & GEDDES, P.A.                      WILMINGTON DE 19899                                 GTAYLOR@ASHBYGEDDES.COM          Email
                                                                                                                           ATTN: JAMES V. MASELLA, III
COUNSEL TO THE CAROLINE DOROTHY JONES 2007 TRUST, THE CHRISTINE LOUISE JONES                                               1675 BROADWAY
2007 TRUST, THE JOHN PAUL JONES II 2007 TRUST, AND THE DOROTHY ANNE JONES 2007                                             19TH FLOOR                                                                           First Class Mail and
TRUST                                                                            BALLARD SPAHR LLP                         NEW YORK NY 10019‐5820                              MASELLAJ@BALLARDSPAHR.COM        Email
                                                                                                                           ATTN: NICHOLAS J. BRANNICK
COUNSEL TO THE CAROLINE DOROTHY JONES 2007 TRUST, THE CHRISTINE LOUISE JONES                                               919 N. MARKET STREET
2007 TRUST, THE JOHN PAUL JONES II 2007 TRUST, AND THE DOROTHY ANNE JONES 2007                                             11TH FLOOR                                                                           First Class Mail and
TRUST                                                                            BALLARD SPAHR LLP                         WILMINGTON DE 19801‐3034                            BRANNICKN@BALLARDSPAHR.COM       Email
                                                                                                                           ATTN: SHRADDHA BHARATIA
                                                                                                                           P.O. BOX 3001
COUNSEL TO AMERICAN EXPRESS NATIONAL BANK                                        BECKET & LEE LLP                          MALVERN PA 19355‐0701                                                                First Class Mail
                                                                                                                           ATTN: DAVID M. KLAUDER
                                                                                                                           1204 N. KING STREET                                                                  First Class Mail and
COUNSEL TO LAVANDA SANDS, L.L.C.                                                 BIELLI & KLAUDER, LLC                     WILMINGTON DE 19801                                 DKLAUDER@BK‐LEGAL.COM            Email
                                                                                                                           ATTN: JOSEF W. MINTZ
                                                                                                                           1201 MARKET STREET
                                                                                                                           SUITE 800                                                                            First Class Mail and
COUNSEL TO FULCRUM DISTRESSED PARTNERS LIMITED                                   BLANK ROME LLP                            WILMINGTON DE 19801                                 JOSEF.MINTZ@BLANKROME.COM        Email
                                                                                                                           ATTN: RICK ANTONOFF
                                                                                                                           1271 AVENUE OF THE AMERICAS                                                          First Class Mail and
COUNSEL TO FULCRUM DISTRESSED PARTNERS LIMITED                                   BLANK ROME LLP                            NEW YORK NY 10020                                   RICK.ANTONOFF@BLANKROME.COM      Email
                                                                                                                           ATTN: SHARON FRASE
                                                                                                                           1611 TELEGRAPH AVE.,
                                                                                                                           SUITE 806                                                                            First Class Mail and
COUNSEL TO ISLAND CAPITAL AND PAUL F. ARANHA                                     BOERSCH & ILLOVSKY LLP                    OAKLAND CA 94612                                    SHARON@BOERSCH‐ILLOVSKY.COM      Email
                                                                                                                           ATTN: KENNETH J. AULET, JEFFREY L. JONAS, MICHAEL   KAULET@BROWNRUDNICK.COM
                                                                                                                           WINOGRAD, ALEXANDER F. KASNETZ                      JJONAS@BROWNRUDNICK.COM
                                                                                                                           SEVEN TIMES SQUARE                                  MWINOGRAD@BROWNRUDNICK.COM       First Class Mail and
COUNSEL TO BLOCKFI INC. AND AFFILIATES AS WINDDOWN DEBTORS                       BROWN RUDNICK LLP                         NEW YORK NY 10036                                   AKASNETZ@BROWNRUDNICK.COM        Email
                                                                                                                           ATTN: TRISTAN G. AXELROD, SHARI I. DWOSKIN,
                                                                                                                           MATTHEW A. SAWYER                                   TAXELROD@BROWNRUDNICK.COM
                                                                                                                           ONE FINANCIAL CENTER                                SDWOSKIN@BROWNRUDNICK.COM        First Class Mail and
COUNSEL TO BLOCKFI INC. AND AFFILIATES AS WINDDOWN DEBTORS                       BROWN RUDNICK LLP                         BOSTON MA 02111                                     MSAWYER@BROWNRUDNICK.COM         Email
                                                                                                                           ATTN: FELICIA BROWNELL
                                                                                                                           252 MARINERS WAY                                                                     First Class Mail and
COUNSEL TO YUMOU WEI                                                             BROWNELL LAW GROUP LLC                    BEAR DE 19701                                       FBROWNELL@BROWNELLLAWGROUP.COM   Email




         In re: FTX Trading Ltd., et al.
         Case No. 22‐11068 (JTD)                                                                                   Page 1 of 16
                                                                Case 22-11068-JTD                        Doc 20627                   Filed 07/16/24               Page 5 of 21
                                                                                                                       Exhibit A
                                                                                                                 Core/2002 Service List
                                                                                                                Served as set forth below


                                            DESCRIPTION                                                NAME                                         ADDRESS                                              EMAIL                  METHOD OF SERVICE
                                                                                                                              ATTN: SHAWN M. CHRISTIANSON, ESQ.
                                                                                    BUCHALTER, A PROFESSIONAL                 425 MARKET STREET, SUITE 2900                                                                    First Class Mail and
COUNSEL FOR ORACLE AMERICA, INC.                                                    CORPORATION                               SAN FRANCISCO CA 94105‐3493                            SCHRISTIANSON@BUCHALTER.COM               Email


                                                                                                                              ATTN: JAMES E. BAILEY III, ROBERT CAMPBELL HILLYER
                                                                                                                              CRESCENT CENTER, SUITE 500
                                                                                                                              6075 POPLAR AVENUE, P.O. BOX 171443                JEB.BAILEY@BUTLERSNOW.COM                     First Class Mail and
COUNSEL TO EVOLVE BANK & TRUST                                                      BUTLER SNOW LLP                           MEMPHIS TN 38187                                   CAM.HILLYER@BUTLERSNOW.COM                    Email
                                                                                                                              ATTN: MARTIN SOSLAND
                                                                                                                              2911 TURTLE CREEK BLVD., SUITE 1400                                                              First Class Mail and
COUNSEL TO EVOLVE BANK & TRUST                                                      BUTLER SNOW LLP                           DALLAS TX 75219                                        MARTIN.SOSLAND@BUTLERSNOW.COM             Email
                                                                                                                              ATTN: J. PETER GLAWS, IV, ESQ.
                                                                                                                              2000 PENNSYLVANIA AVE, NW
                                                                                                                              STE. 8001                                                                                        First Class Mail and
COUNSEL TO SILICON VALLEY ACCOUNTANTS                                               CARR MALONEY P.C.                         WASHINGTON DC 20006                                    PETER.GLAWS@CARRMALONEY.COM               Email
                                                                                                                              ATTN: AARON R. CAHN
                                                                                                                              28 LIBERTY STREET
                                                                                                                              41ST FLOOR                                                                                       First Class Mail and
COUNSEL TO PI‐CRYPTO LTD., PI 1.0 LP                                                CARTER LEDYARD & MILBURN LLP              NEW YORK NY 10005                                      BANKRUPTCY@CLM.COM                        Email
COUNSEL TO MICHAEL BURGESS, HUY XUAN “KEVIN” NGUYEN, JING YU                                                                  ATTN: STIPE VULETA, LACHLAN MCBRIDE, SEBASTIAN         STIPE.VULETA@CHAMBERLAINS.COM.AU
“DARREN” WONG, MATTHEW BURGESS, LESLEY BURGESS, 3TWELVE VENTURES LTD., AND                                                    BRODOWSKI, SAM KEYS‐ASGILL                             LACHLAN.MCBRIDE@CHAMBERLAINS.COM.AU
BDK CONSULTING                                                                                                                LEVEL 12 59 GOULBURN STREET                            SEBASTIAN.BRODOWSKI@CHAMBERLAINS.COM.AU   First Class Mail and
LTD                                                                                 CHAMBERLAINS LAW FIRM                     SYDNEY, NSW 2002 AUSTRALIA                             SAM.KEYSASGILL@CHAMBERLAINS.COM.AU        Email


                                                                                                                              ATTN: ROBERT A. WEBER, MARK L. DESGROSSEILLIERS
                                                                                                                              HERCULES PLAZA, SUITE 5400
                                                                                                                              1313 N. MARKET STREET                                                                            First Class Mail and
COUNSEL TO DANIEL FRIEDBERG                                                         CHIPMAN BROWN CICERO & COLE, LLP          WILMINGTON DE 19801                             WEBER@CHIPMANBROWN.COM                           Email
                                                                                                                              ATTN: KAREN M. GRIVNER
                                                                                                                              824 N. MARKET STREET
                                                                                                                              SUITE 710                                                                                        First Class Mail and
COUNSEL TO GEORGIAN PARTNERS, INC.                                                  CLARK HILL PLC                            WILMINGTON DE 19801                                    KGRIVNER@CLARKHILL.COM                    Email
                                                                                                                              ATTN: KEVIN H. MORSE
                                                                                                                              130 E. RANDOLPH STREET
                                                                                                                              SUITE 3900                                                                                       First Class Mail and
COUNSEL TO GEORGIAN PARTNERS, INC.                                                  CLARK HILL PLC                            CHICAGO IL 60601                                       KMORSE@CLARKHILL.COM                      Email
                                                                                                                              ATTN: JANE VANLARE, BRANDON M. HAMMER
                                                                                                                              ONE LIBERTY PLAZA                                      JVANLARE@CGSH.COM                         First Class Mail and
COUNSEL TO BITGO TRUST COMPANY, INC.                                                CLEARY GOTTLIEB STEEN & HAMILTON LLP      NEW YORK NY 10006                                      BHAMMER@CGSH.COM                          Email
                                                                                                                          C/O SUNIL SHAH
                                                                                                                          1805 N. CARSON CITY ST.,
                                                                                                                          SUITE X‐108                                                                                          First Class Mail and
COMMITTEE OF UNSECURED CREDITORS                                                    COINCIDENT CAPITAL INTERNATIONAL, LTD CARSON CITY NV 89701                                       FTXCC@COINCIDENTCAPITAL.COM               Email
                                                                                                                              ATTN: NORMAN L. PERNICK, ESQ., ANDREW J. ROTH,
                                                                                                                              ESQ., JUSTIN R. ALBERTO, PATRICK J. REILLEY ,MELISSA
                                                                                                                              M. HARTLIPP                                            NPERNICK@COLESCHOTZ.COM
                                                                                                                              500 DELAWARE AVENUE                                    AROTH‐MOORE@COLESCHOTZ.COM
COUNSEL TO LIGHTSPEED STRATEGIC PARTNERS I L.P., LIGHTSPEED OPPORTUNITY FUND, L.P.,                                           SUITE 1410                                             JALBERTO@COLESCHOTZ.COM                   First Class Mail and
LITIGATION ADMINISTRATOR FOR CELSIUS NETWORK, LLC                                   COLE SCHOTZ P.C.                          WILMINGTON DE 19801                                    PREILLEY@COLESCHOTZ.COM                   Email




          In re: FTX Trading Ltd., et al.
          Case No. 22‐11068 (JTD)                                                                                     Page 2 of 16
                                                                  Case 22-11068-JTD                       Doc 20627                 Filed 07/16/24            Page 6 of 21
                                                                                                                      Exhibit A
                                                                                                                Core/2002 Service List
                                                                                                               Served as set forth below


                                            DESCRIPTION                                                 NAME                                     ADDRESS                                EMAIL        METHOD OF SERVICE
                                                                                                                             ATTN: MARTIN B. WHITE
                                                                                                                             SENIOR ASSISTANT GENERAL COUNSEL
COUNSEL TO COMMODITY FUTURES TRADING COMMISSION, AN AGENCY OF THE UNITED              COMMODITY FUTURES TRADING              1155 21ST STREET NW                                                    First Class Mail and
STATES GOVERNMENT                                                                     COMMISSION                             WASHINGTON DC 20581                      MWHITE@CFTC.GOV               Email
                                                                                                                             ATTN: AUDREY MOTT‐SMITH
                                                                                                                             3 EMBARCADERO CENTER
COUNSEL TO CRAIG SHINDLEDECKER, ADAM BORYENACE, LINDSEY BOERNER, TANA A.                                                     20TH FLOOR                                                             First Class Mail and
LAWLER, STANTON CAMP, MICHAEL MCGEE AND TIM MILLAR                                    COOLEY LLP                             SAN FRANCISCO CA 94111                   AMOTTSMITH@COOLEY.COM         Email
                                                                                                                             ATTN: CULLEN D. SPECKHART
COUNSEL TO THE DEFENDANT WILLIAM HOCKEY LIVING TRUST & DEFENDANTS LISTED ON                                                  1299 PENNSYLVANIA AVENUE NW
EXHIBIT A, CRAIG SHINDLEDECKER, ADAM BORYENACE, LINDSEY BOERNER, TANA A. LAWLER,                                             SUITE 700                                                              First Class Mail and
STANTON CAMP, MICHAEL MCGEE AND TIM MILLAR                                       COOLEY LLP                                  WASHINGTON DC 20004                      CSPECKHART@COOLEY.COM         Email
                                                                                                                             ATTN: MICHAEL KLEIN, ARIC WU, CAROLINE   MKLEIN@COOLEY.COM
COUNSEL TO THE DEFENDANT WILLIAM HOCKEY LIVING TRUST & DEFENDANTS LISTED ON                                                  PIGNATELLI, ERICA J. RICHARDS            AHWU@COOLEY.COM
EXHIBIT A, CRAIG SHINDLEDECKER, ADAM BORYENACE, LINDSEY BOERNER, TANA A. LAWLER,                                             55 HUDSON YARDS                          CPIGNATELLI@COOLEY.COM        First Class Mail and
STANTON CAMP, MICHAEL MCGEE AND TIM MILLAR                                       COOLEY LLP                                  NEW YORK NY 10001                        ERICHARDS@COOLEY.COM          Email



COUNSEL TO AAVCF3 LP, ADAPT VC LLC, AKHIL PAUL, BAUDOIN, KIARA, CAROL H. DUGGAN
REVOCABLE LIVING TRUST, CATHEXIS SUBSIDIARIES GP, LLC; CATHEXIS VENTURES, LP, CLARK,
DEREK, DUARTE, JONATHAN, DWYER, JOHN, EM FUND I, A SERIES OF CHRIS GOLDA
INVESTMENTS, LP, EMBEDFI JUNE 2021, A SERIES OF PARTY ROUND LLC, FAIRCHILD FUND III,
LLC, FERRARI, MICHAEL, FRANK, AARON, FUND I, A SERIES OF 20VC, LP, FUND I, A SERIES OF
NOT BORING CAPITAL, LP, GARDNER, CLAYTON, GILES, MICHAEL, HARLAND GROUP LLC,
HARPER, CHRISTOPHER, HARPER, STEPHEN, JABRE, PHILIPPE, JOHNSON, BRENT, KV5 PTY LTD
ATF KV5 TRUST, KERR INVESTMENT HOLDINGS PTY LTD A/T/F THE KERR FAMILY TRUST, KICK
THE HIVE LLC, LONDERGAN, BENJAMIN, LOVERO, JUSTIN, LYON, MATTHEW, MANN,
BRANDON, MEENTS, DAVID, MOTIVATE VENTURES FUND I, LP, MOTIVATE VENTURES QP
FUND I, LP, NICHOLS, JAMES, NORDBY, CHRISTIAN, OPERATOR PARTNERS, LLC, PERCOCO, JOE,
PETER T. LAWLER LIVING TRUST, PRUVEN CAPITAL PARTNERS FUND I, LP, S20, A SERIES OF
CHRIS GOLDA INVESTMENTS, LP, SWS HOLDING COMPANY, LLC STUART SOPP, SAUGSTAD,
MONIQUE, SILVERSTONE VENTURE INVESTMENTS LIMITED, SLATE, JOSHUA ALLEN, SOMA
CAPITAL FUND, III, LP, SOMA CAPITAL FUND III PARTNERS LLC, SOPP, STUART, THE GARDNER
2008 LIVING TRUST, THOMAS G. MIGLIS REVOCABLE TRUST, TRIPLEPOINT PRIVATE VENTURE
CREDIT INC., TRIPLEPOINT VENTURE LENDING FUND, LLC, TRIPLEPOINT VENTURES 5 LLC,
VENTURESOUQ CAPITAL SPC O/B/O VSQ SP 59 (YCS20), WEINER, JONATHAN, WEVER, DENA,
YASELLERAPH FINANCE PTY LTD ATF YASELLERAPH FINANCE TRUST, YOUNG, CHRISTOPHER, Z
PERRET TRUST, 9YARDS CAPITAL INVESTMENTS II LP AND WILLIAM HOCKEY LIVING TRUST,                                              ATTN: PHILIP M. BOWMAN, ESQ.
CRAIG SHINDLEDECKER, ADAM BORYENACE, LINDSEY BOERNER, TANA A. LAWLER, STANTON                                                55 HUDSON YARDS                                                        First Class Mail and
CAMP, MICHAEL MCGEE AND TIM MILLAR                                                     COOLEY LLP                            NEW YORK NY 10001                        PBOWMAN@COOLEY.COM            Email
                                                                                                                             ESQ., SCOTT D. JONES, ESQ.
                                                                                                                             BRANDYWINE PLAZA WEST
                                                                                                                             1521 CONCORD PIKE, SUITE 301                                           First Class Mail and
COUNSEL TO EVOLVE BANK & TRUST                                                        COUSINS LAW LLC                        WILMINGTON DE 19801                      SCOTT.JONES@COUSINS‐LAW.COM   Email
                                                                                                                             ATTN: FREDERICK SCHMIDT
                                                                                                                             3WTC, 175 GREENWICH STREET
                                                                                                                             55TH FLOOR                                                             First Class Mail and
COUNSEL TO BH TRADING LTD., GRANT KIM AND PETER KIM                                   COZEN O’CONNOR                         NEW YORK NY 10007                        ESCHMIDT@COZEN.COM            Email




          In re: FTX Trading Ltd., et al.
          Case No. 22‐11068 (JTD)                                                                                    Page 3 of 16
                                                               Case 22-11068-JTD                         Doc 20627                 Filed 07/16/24               Page 7 of 21
                                                                                                                     Exhibit A
                                                                                                               Core/2002 Service List
                                                                                                              Served as set forth below


                                           DESCRIPTION                                                 NAME                                     ADDRESS                                    EMAIL           METHOD OF SERVICE
                                                                                                                            ATTN: THOMAS J. FRANCELLA
                                                                                                                            1201 N. MARKET STREET, SUITE 1001                                             First Class Mail and
COUNSEL TO BH TRADING LTD., GRANT KIM AND PETER KIM                               COZEN O’CONNOR                            WILMINGTON DE 19801                         TFRANCELLA@COZEN.COM              Email
                                                                                                                            ATTN: KEVIN S. MANN
                                                                                                                            1105 NORTH MARKET STREET
                                                                                                                            SUITE 901                                                                     First Class Mail and
COUNSEL TO LIQUIDITY SOLUTIONS GLOBAL LTD. (THE “LSG”)                            CROSS & SIMON LLC                         WILMINGTON DE 19801                         KMANN@CROSSLAW.COM                Email
                                                                                                                            ATTN: CHRISTOPHER P. SIMON
COUNSEL TO ROCKET INTERNET CAPITAL PARTNERS II SCS, ROCKET INTERNET CAPITAL                                                 1105 NORTH MARKET STREET
PARTNERS (EURO) II SCS, GFC GLOBAL FOUNDERS CAPITAL GMBH AND GFC GLOBAL                                                     SUITE 901                                                                     First Class Mail and
FOUNDERS CAPITAL GMBH & CO. BETEILIGUNGS KG NR. 1                                 CROSS & SIMON, LLC                        WILMINGTON DE 19801                         CSIMON@CROSSLAW.COM               Email
                                                                                                                            ATTN: FREDERICK HYMAN
                                                                                                                            590 MADISON AVE                                                               First Class Mail and
COUNSEL TO LAVANDA SANDS, L.L.C.                                                  CROWELL & MORING LLP                      NEW YORK NY 10022                           FHYMAN@CROWELL.COM                Email
                                                                                                                            ATTN: M. NATASHA LABOVITZ, ESQ., ELIE J.
                                                                                                                            WORENKLEIN, ESQ., MICHAEL C. GODBE, ESQ.    NLABOVITZ@DEBEVOISE.COM
                                                                                                                            66 HUDSON BOULEVARD                         EWORENKLEIN@DEBEVOISE.COM         First Class Mail and
COUNSEL TO LIGHTSPEED STRATEGIC PARTNERS I L.P., LIGHTSPEED OPPORTUNITY FUND, L.P. DEBEVOISE & PLIMPTON LLP                 NEW YORK NY 10001                           MCGODBE@DEBEVOISE.COM             Email
                                                                                                                            ATTN: SIDNEY P. LEVINSON, JASMINE BALL
                                                                                                                            66 HUDSON BOULEBARD                         SLEVINSON@DEBEVOISE.COM           First Class Mail and
COUNSEL FOR PARADIGM OPERATIONS LP                                                DEBEVOISE & PLIMPTON LLP                  NEW YORK NY 10001                           JBALL@DEBEVOISE.COM               Email
                                                                                                                            ATTN: ZILLAH FRAMPTON
                                                                                                                            820 N FRENCH ST                                                               First Class Mail and
DELAWARE DIVISION OF REVENUE                                                      DELAWARE DIVISION OF REVENUE              WILMINGTON DE 19801                         FASNOTIFY@STATE.DE.US             Email
                                                                                                                            CORPORATIONS FRANCHISE TAX
                                                                                                                            P.O. BOX 898                                                                  First Class Mail and
DELAWARE SECRETARY OF STATE                                                       DELAWARE SECRETARY OF STATE               DOVER DE 19903                              DOSDOC_FTAX@STATE.DE.US           Email
                                                                                                                            ATTN: BANKRUPTCY DEPT
                                                                                                                            820 SILVER LAKE BLVD
                                                                                                                            STE 100                                                                       First Class Mail and
DELAWARE STATE TREASURY                                                           DELAWARE STATE TREASURY                   DOVER DE 19904                              STATETREASURER@STATE.DE.US        Email
                                                                                                                            ATTN: PETER C. HUGHES, ESQ.
                                                                                                                            800 N KING STREET
                                                                                                                            SUITE 202                                                                     First Class Mail and
COUNSEL TO ELD CAPITAL LLC, DOMINIC JOHN CUBITT, AND LEONA SAMMON                 DILWORTH PAXSON LLP                       WILMINGTON DE 19801                         PHUGES@DILWORTHLAW.COM            Email
                                                                                                                            ATTN: AARON S. APPLEBAUM
                                                                                                                            1201 NORTH MARKET STREET
                                                                                                                            SUITE 2100                                                                    First Class Mail and
COUNSEL TO MAPS VAULT LTD.                                                        DLA PIPER LLP                             WILMINGTON DE 19801                         AARON.APPLEBAUM@US.DLAPIPER.COM   Email
                                                                                                                            ATTN: AARON S. APPLEBAUM
                                                                                                                            1201 NORTH MARKET STREET
                                                                                                                            SUITE 2100                                                                    First Class Mail and
COUNSEL TO MAPS VAULT LTD. AND OXYGEN VAULT LTD.                                  DLA PIPER LLP (US)                        WILMINGTON DE 19801                         AARON.APPLEBAUM@US.DLAPIPER.COM   Email
                                                                                                                            ATTN: DENNIS C. O’DONNELL
                                                                                                                            1251 AVENUE OF THE AMERICAS                                                   First Class Mail and
COUNSEL TO MAPS VAULT LTD. AND OXYGEN VAULT LTD.                                  DLA PIPER LLP (US)                        NEW YORK NY 10020                           DENNIS.ODONNELL@DLAPIPER.COM      Email




         In re: FTX Trading Ltd., et al.
         Case No. 22‐11068 (JTD)                                                                                    Page 4 of 16
                                                             Case 22-11068-JTD               Doc 20627                 Filed 07/16/24               Page 8 of 21
                                                                                                         Exhibit A
                                                                                                   Core/2002 Service List
                                                                                                  Served as set forth below


                                           DESCRIPTION                                     NAME                                      ADDRESS                                          EMAIL                  METHOD OF SERVICE
                                                                                                                ATTN: JEFFREY TOROSIAN
                                                                                                                444 W. LAKE STREET
                                                                                                                SUITE 900                                                                                   First Class Mail and
COUNSEL TO MAPS VAULT LTD. AND OXYGEN VAULT LTD.                      DLA PIPER LLP (US)                        CHICAGO IL 60606                                   JEFFREY.TOROSIAN@DLAPIPER.COM            Email
                                                                                                                ATTN: AMISH R. DOSHI
                                                                                                                1979 MARCUS AVENUE, SUITE 210E                                                              First Class Mail and
COUNSEL TO ORACLE AMERICA, INC.                                       DOSHI LEGAL GROUP, P.C.                   LAKE SUCCESS NY 11042                              AMISH@DOSHILEGAL.COM                     Email

                                                                                                                ATTN: THOMAS A. PITTA, ESQ. JUDITH SWARTZ, ESQ.
                                                                                                                120 BROADWAY, 32ND FLOOR                           JSWARTZ@EMMETMARVIN.COM                  First Class Mail and
COUNSEL TO CADIAN                                                     EMMET, MARVIN & MARTIN, LLP               NEW YORK NY 10271                                  TPITTA@EMMETMARVIN.COM                   Email
                                                                                                                ATTN BANKRUPTCY DIVISION
                                                                                                                290 BROADWAY
ENVIRONMENTAL PROTECTION AGENCY ‐ REGION 2                            ENVIRONMENTAL PROTECTION AGENCY           NEW YORK NY 10007‐1866                                                                      First Class Mail
                                                                                                                ATTN: GENERAL COUNSEL
                                                                                                                OFFICE OF GENERAL COUNSEL 2310A
                                                                                                                1200 PENNSYLVANIA AVE NW, 2310A
ENVIRONMENTAL PROTECTION AGENCY                                       ENVIRONMENTAL PROTECTION AGENCY           WASHINGTON DC 20460                                                                         First Class Mail
                                                                                                                ATTN: ANDREA L. GORDON
                                                                                                                700 SIXTH STREET NW, SUITE 700                                                              First Class Mail and
COUNSEL TO THE AD HOC COMMITTEE OF NON US CUSTOMERS OF FTX.COM        EVERSHEDS SUTHERLAND (US) LLP             WASHINGTON DC 20001                                ANDREAGORDON@EVERSHEDS‐SUTHERLAND.COM    Email
                                                                                                                ATTN: ERIN E. BRODERICK
                                                                                                                227 WEST MONROE STREET, SUITE 6000                                                          First Class Mail and
COUNSEL TO THE AD HOC COMMITTEE OF NON US CUSTOMERS OF FTX.COM        EVERSHEDS SUTHERLAND (US) LLP             CHICAGO IL 60606                                   ERINBRODERICK@EVERSHEDS‐SUTHERLAND.COM   Email
                                                                                                                ATTN: MARK D. SHERRILL
                                                                                                                1001 FANNIN STREET, SUITE 3700                                                              First Class Mail and
COUNSEL TO THE AD HOC COMMITTEE OF NON US CUSTOMERS OF FTX.COM        EVERSHEDS SUTHERLAND (US) LLP             HOUSTON TX 77002                                   MARKSHERRILL@EVERSHEDS‐SUTHERLAND.COM    Email
                                                                                                                ATTN: PETER A. IVANICK, SARAH E. PAUL, PHILIP H.
                                                                                                                EHRLICH, LYNN W. HOLBERT                           PETERIVANICK@EVERSHEDS‐SUTHERLAND.COM
                                                                                                                THE GRACE BUILDING, 40TH FLOOR                     SARAHPAUL@EVERSHEDS‐SUTHERLAND.COM
                                                                                                                1114 AVENUE OF THE AMERICAS                        PHILIPEHRLICH@EVERSHEDS‐SUTHERLAND.COM   First Class Mail and
COUNSEL TO THE AD HOC COMMITTEE OF NON US CUSTOMERS OF FTX.COM        EVERSHEDS SUTHERLAND (US) LLP             NEW YORK NY 10036                                  LYNNHOLBERT@EVERSHEDS‐SUTHERLAND.COM     Email
                                                                                                                ATTN: MICHAEL J. SMALL
                                                                                                                321 NORTH CLARK STREET, SUITE 3000                                                          First Class Mail and
COUNSEL TO MERCEDES‐BENZ GRAND PRIX LIMITED                           FOLEY & LARDNER LLP                       CHICAGO IL 60654                                   MSMALL@FOLEY.COM                         Email
                                                                                                                ATTN: SAMANTHA RUPPENTHAL
                                                                                                                90 PARK AVENUE                                                                              First Class Mail and
COUNSEL TO MERCEDES‐BENZ GRAND PRIX LIMITED                           FOLEY & LARDNER LLP                       NEW YORK NY 10016                                  SRUPPENTHAL@FOLEY.COM                    Email
                                                                                                                ATTN: DAVID V. FONTANA
                                                                                                                1000 N. WEST STREET
                                                                                                                SUITE 1200                                                                                  First Class Mail and
COUNSEL TO BRANDON WILLIAMS                                           GEBHARDT & SMITH LLP                      WILMINGTON DE 19081                                DFONT@GEBSMITH.COM                       Email
                                                                                                                ATTN: MICHAEL BUSENKELL
                                                                                                                1201 NORTH ORANGE STREET
                                                                                                                SUITE 300                                                                                   First Class Mail and
COUNSEL TO BLOCKFI INC. AND AFFILIATES AS WINDDOWN DEBTORS            GELLERT SCALI BUSENKELL & BROWN, LLC      WILMINGTON DE 19801                                MBUSENKELL@GSBBLAW.COM                   Email




         In re: FTX Trading Ltd., et al.
         Case No. 22‐11068 (JTD)                                                                        Page 5 of 16
                                                                Case 22-11068-JTD                      Doc 20627                  Filed 07/16/24              Page 9 of 21
                                                                                                                    Exhibit A
                                                                                                              Core/2002 Service List
                                                                                                             Served as set forth below


                                           DESCRIPTION                                            NAME                                         ADDRESS                                           EMAIL           METHOD OF SERVICE
                                                                                                                           ATTN: CHRISTOPHER VICECONTE, ESQ.
                                                                                                                           300 DELAWARE AVENUE
                                                                                                                           SUITE 1015                                                                           First Class Mail and
COUNSEL TO DR. MARCEL LÖTSCHER                                                    GIBBONS P.C.                             WILMINGTON DE 19801‐1671                          CVICECONTE@GIBBONSLAW.COM          Email
                                                                                                                           ATTN: ROBERT K. MALONE, ESQ., BRETT S. THEISEN,
                                                                                                                           ESQ.
                                                                                                                           KYLE P. MCEVILLY, ESQ.                            RMALONE@GIBBONSLAW.COM
                                                                                                                           ONE GATEWAY CENTER                                BTHEISEN@GIBBONSLAW.COM            First Class Mail and
COUNSEL TO DR. MARCEL LÖTSCHER                                                    GIBBONS P.C.                             NEWARK NJ 07102‐5310                              KMCEVILLY@GIBBONSLAW.COM           Email
                                                                                                                           ATTN: SCOTT D. SIMON, ESQ.
                                                                                                                           ONE PENN PLAZA
                                                                                                                           SUITE 3100                                                                           First Class Mail and
COUNSEL TO LATONA BIOSCIENCES GROUP AND ROSS RHEINGANS‐YOO                        GOETZ FITZPATRICK LLP                    NEW YORK NY 10119                                 SSIMON@GOETZFITZ.COM               Email
                                                                                                                           ATTN: BRIAN DAVIDOFF
                                                                                                                           2049 CENTURY PARK EAST
                                                                                  GREENBERG GLUSKER FIELDS CLAMAN &        STE 2600                                                                             First Class Mail and
COUNSEL FOR NORTH AMERICAN LEAGUE OF LEGENDS CHAMPIONSHIP SERIES, LLC             MACHTINGER LLP                           LOS ANGELES CA 90067‐4590                         BDAVIDOFF@GREENBERGGLUSKER.COM     Email
                                                                                                                           ATTN: RICHARD D. ANIGIAN, CHARLES M. JONES II
                                                                                                                           2323 VICTORY AVENUE
COUNSEL TO BLOCKFI INC. AND AFFILIATES, BLOCKFI INC. AND AFFILIATES AS WINDDOWN                                            SUITE 700                                         RICK.ANIGIAN@HAYNESBOONE.COM       First Class Mail and
DEBTORS                                                                           HAYNES AND BOONE, LLP                    DALLAS TX 75219                                   CHARLIE.JONES@HAYNESBOONE.COM      Email
                                                                                                                           ATTN: RICHARD KANOWITZ
                                                                                                                           30 ROCKEFELLER PLAZA
COUNSEL TO BLOCKFI INC. AND AFFILIATES, BLOCKFI INC. AND AFFILIATES AS WINDDOWN                                            26TH FLOOR                                                                           First Class Mail and
DEBTORS                                                                           HAYNES AND BOONE, LLP                    NEW YORK NY 10112                                 RICHARD.KANOWITZ@HAYNESBOONE.COM   Email
                                                                                                                           ATTN: DOMINICK T. GATTUSO; DENISE S. KRAFT
                                                                                                                           300 DELAWARE AVE
                                                                                                                           SUITE 200                                         DGATTUSO@HEGH.LAW                  First Class Mail and
COUNSEL TO AMANDA HOUGHTON                                                        HEYMAN ENERIO GATTUSO & HIRZEL LLP       WILMINGTON DE 19801                               DKRAFT@HEGH.LAW                    Email
                                                                                                                           ATTN: DENNIS H. TRACEY, III, JOHN D. BECK, MAYA
COUNSEL TO ROCKET INTERNET CAPITAL PARTNERS II SCS, ROCKET INTERNET CAPITAL                                                JUMPER                                            DENNIS.TRACEY@HOGANLOVELLS.COM
PARTNERS (EURO) II SCS, GFC GLOBAL FOUNDERS CAPITAL GMBH AND GFC GLOBAL                                                    390 MADISON AVENUE                                DENNIS.TRACEY@HOGANLOVELLS.COM     First Class Mail and
FOUNDERS CAPITAL GMBH & CO. BETEILIGUNGS KG NR. 1                                 HOGAN LOVELLS US LLP                     NEW YORK NY 10017                                 MAYA.JUMPER@HOGANLOVELLS.COM       Email
                                                                                                                           ATTN: WARREN E. GLUCK, ESQ., MARIE E. LARSEN,     WARREN.GLUCK@HKLAW.COM
                                                                                                                           ESQ., DAVID W. WIRT, JESSICA MAGEE, SHARDUL       MARIE.LARSEN@HKLAW.COM
                                                                                                                           DESAI                                             DAVID.WIRT@HKLAW.COM
                                                                                                                           31 W. 52ND STREET                                 JESSICA.MAGEE@HKLAW.COM            First Class Mail and
COUNSEL TO JOINT PROVISIONAL LIQUIDATORS OF FTX                                   HOLLAND & KNIGHT LLP                     NEW YORK NY 10019                                 SHARDUL.DESAI@HKLAW.COM            Email
COUNSEL TO MICHAEL BURGESS, HUY XUAN “KEVIN” NGUYEN, JING YU
“DARREN” WONG, MATTHEW BURGESS, LESLEY BURGESS, 3TWELVE VENTURES LTD., AND
BDK CONSULTING                                                                                                             LEVEL 8 224 BUNDA STREET                                                             First Class Mail and
LTD                                                                               HUGH SMITH ESQUIRE                       CANBERRA CITY, ACT 2601 AUSTRALIA                 HUGH.SMITH@CHAMBERLAINS.COM.AU     Email
                                                                                                                           CENTRALIZED INSOLVENCY OPERATION
                                                                                                                           2970 MARKET ST
                                                                                                                           MAIL STOP 5‐Q30.133
IRS INSOLVENCY SECTION                                                            INTERNAL REVENUE SERVICE                 PHILADELPHIA PA 19104‐5016                                                           First Class Mail
                                                                                                                           CENTRALIZED INSOLVENCY OPERATION
                                                                                                                           P.O. BOX 7346
IRS INSOLVENCY SECTION                                                            INTERNAL REVENUE SERVICE                 PHILADELPHIA PA 19101‐7346                                                           First Class Mail




         In re: FTX Trading Ltd., et al.
         Case No. 22‐11068 (JTD)                                                                                   Page 6 of 16
                                                               Case 22-11068-JTD                   Doc 20627                   Filed 07/16/24             Page 10 of 21
                                                                                                                 Exhibit A
                                                                                                           Core/2002 Service List
                                                                                                          Served as set forth below


                                           DESCRIPTION                                        NAME                                           ADDRESS                                           EMAIL         METHOD OF SERVICE
                                                                                                                        ATTN: MICHAEL J. JOYCE, ESQ.
                                                                                                                        1225 KING STREET
                                                                                                                        SUITE 800                                                                           First Class Mail and
COUNSEL TO LATONA BIOSCIENCES GROUP AND ROSS RHEINGANS‐YOO                    JOYCE, LLC                                WILMINGTON DE 19801                               MJOYCE@MJLAWOFFICES.COM           Email
                                                                                                                        ATTN: BRIAN D. KOOSED, ESQ.
COUNSEL TO ALUMNI VENTURES GROUP AND ALUMNI VENTURES GROUP ‐ EMBEDDED                                                   1602 K STREET NW                                                                    First Class Mail and
FINANCIAL TECHNOLOGIES TRUST A                                                K&L GATES LLP                             WASHINGTON DC 20006‐1600                          BRIAN.KOOSED@KLGATES.COM          Email
                                                                                                                        ATTN: ROBERT T. HONEYWELL, ESQ.
COUNSEL TO ALUMNI VENTURES GROUP AND ALUMNI VENTURES GROUP ‐ EMBEDDED                                                   599 LEXINGTON AVENUE                                                                First Class Mail and
FINANCIAL TECHNOLOGIES TRUST A                                                K&L GATES LLP                             NEW YORK NY 10022‐6030                            ROBERT.HONEYWELL@KLGATES.COM      Email
                                                                                                                        ATTN: STEVEN L. CAPONI, ESQ., MATTHEW B. GOELLER,
                                                                                                                        ESQ., MEGAN E. O'CONNER, ESQ.
                                                                                                                        600 N. KING STREET                                STEVEN.CAPONI@KLGATES.COM
COUNSEL TO ALUMNI VENTURES GROUP AND ALUMNI VENTURES GROUP ‐ EMBEDDED                                                   SUITE 901                                         MATTHEW.GOELLER@KLGATES.COM       First Class Mail and
FINANCIAL TECHNOLOGIES TRUST A                                                K&L GATES LLP                             WILMINGTON DE 19801                               MEGAN.OCONNER@KLGATE.COM          Email
                                                                                                                        ATTN: ANN M. KASHISHIAN
                                                                                                                        501 SILVERSIDE ROAD, SUITE 85                                                       First Class Mail and
COUNSEL TO GABRIEL RECCHIA, CACENDISH LABS CO., BRADEN LEACH                  KASHISHIAN LAW LLC                        WILMINGTON DE 19809                               AMK@KASHISHIANLAW.COM             Email
                                                                                                                        ATTN: JANE KIM, GABRIELLE L. ALBERT
                                                                                                                        650 CALIFORNIA ST. #1900                          JKIM@KBKLLP.COM                   First Class Mail and
COUNSEL TO ISLAND CAPITAL AND PAUL F. ARANHA                                  KELLER BENVENUTTI KIM LLP                 SAN FRANCISCO CA 94108                            GALBERT@KBKLLP.COM                Email
                                                                                                                        ATTN: LOUIS M. PHILLIPS
                                                                                                                        301 MAIN ST., SUITE 1600                                                            First Class Mail and
COUNSEL FOR WORD OF GOD FELLOWSHIP, INC.                                      KELLY HART & HALLMAN LLP                  BATON ROUGE LA 70801                              LOUIS.PHILLIPS@KELLYHART.COM      Email
                                                                                                                        ATTN: MICHAEL D. ANDERSON
                                                                                                                        201 MAIN STREET, SUITE 2500                                                         First Class Mail and
COUNSEL FOR WORD OF GOD FELLOWSHIP, INC.                                      KELLY HART & HALLMAN LLP                  FORT WORTH TX 76102                               MICHAEL.ANDERSON@KELLYHART.COM    Email

                                                                                                                        ATTN: ADAM G. LANDIS, KIMBERLY A. BROWN,          LANDIS@LRCLAW.COM
                                                                                                                        MATTHEW R. PIERCE, NICOLAS E. JENNER, GEORGE A.   BROWN@LRCLAW.COM
                                                                                                                        WILLIAMS III, MATTHEW MCGUIRE, HOWARD W.          PIERCE@LRCLAW.COM
                                                                                                                        ROBERTSON IV                                      JENNER@LRCLAW.COM
                                                                                                                        919 MARKET STREET                                 WILLIAMS@LRCLAW.COM
                                                                                                                        SUITE 1800                                        MCGUIRE@LRCLAW.COM
COUNSEL TO DEBTORS AND DEBTORS IN POSSESSION AND MACLAURIN INVESTMENTS LTD.   LANDIS RATH & COBB LLP                    WILMINGTON DE 19801                               ROBERTSON@LRCLAW.COM              Email
                                                                                                                        ATTN: ADAM J. GOLDBERG BRIAN S. ROSEN
                                                                                                                        1271 AVENUE OF THE AMERICAS                       ADAM.GOLDBERG@LW.COM              First Class Mail and
COUNSEL TO BINANCE (SWITZERLAND) AG                                           LATHAM & WATKINS LLP                      NEW YORK NY 10020                                 BRIAN.ROSEN@LW.COM                Email
                                                                                                                        ATTN: KEITH KODOSKY, ESQUIRE
                                                                                                                        600 PEACHTREE NE
                                                                                                                        SUITE 4700                                                                          First Class Mail and
COUNSEL TO DANIEL FRIEDBERG                                                   LEWIS BRISBOIS BISGAARD & SMITH LLP       ATLANTA GA 30308                                  KEITH.KODOSKY@LEWISBRISBOIS.COM   Email
                                                                                                                        ATTN: MINYAO WANG, ESQUIRE
                                                                                                                        77 WATER STREET
                                                                                                                        SUITE 2100                                                                          First Class Mail and
COUNSEL TO DANIEL FRIEDBERG                                                   LEWIS BRISBOIS BISGAARD & SMITH LLP       NEW YORK NY 10005                                 MINYAO.WANG@LEWISBRISBOIS.COM     Email




         In re: FTX Trading Ltd., et al.
         Case No. 22‐11068 (JTD)                                                                                Page 7 of 16
                                                              Case 22-11068-JTD                      Doc 20627                  Filed 07/16/24               Page 11 of 21
                                                                                                                  Exhibit A
                                                                                                            Core/2002 Service List
                                                                                                           Served as set forth below


                                           DESCRIPTION                                           NAME                                          ADDRESS                                         EMAIL               METHOD OF SERVICE
                                                                                                                         ATTN: PHILIP HINSON, ESQUIRE
                                                                                                                         521 EAST MOREHEAD STREET
                                                                                                                         SUITE 250                                                                                First Class Mail and
COUNSEL TO DANIEL FRIEDBERG                                                     LEWIS BRISBOIS BISGAARD & SMITH LLP      CHARLOTTE NC 28202                                 PHILIP.HINSON@LEWISBRISBOIS.COM       Email
                                                                                                                         ATTN: SCOTT D. COUSINS, RAFAEL X. ZAHRALDDIN‐
                                                                                                                         ARAVENA, KEVIN F. SHAW
                                                                                                                         500 DELAWARE AVE                                   SCOTT.COUSINS@LEWISBRISBOIS.COM
                                                                                                                         SUITE 700                                          RAFAEL.ZAHRALDDIN@LEWISBRISBOIS.COM   First Class Mail and
COUNSEL TO EVOLVE BANK & TRUST                                                  LEWIS BRISBOIS BISGAARD & SMITH LLP      WILMINGTON DE 19801                                KEVIN.SHAW@LEWISBRISBOIS.COM          Email
                                                                                                                         ATTN: SEAN P. SHECTER, ESQUIRE
                                                                                                                         110 SE 6TH STREET
                                                                                                                         SUITE 2600                                                                               First Class Mail and
COUNSEL TO DANIEL FRIEDBERG                                                     LEWIS BRISBOIS BISGAARD & SMITH LLP      FORT LAUDERDALE FL 33301                           SEAN.SHECTER@LEWISBRISBOIS.COM        Email
                                                                                                                         ATTN: IRA S. GREENE
                                                                                                                         200 VESEY STREET                                                                         First Class Mail and
COUNSEL TO PHALA LTD.                                                           LOCKE LORD LLP                           NEW YORK NY 10281                                  IRA.GREENE@LOCKELORD.COM              Email
                                                                                                                         ATTN: ANDREW BEHLMANN, COLLEEN M. RESTEL
                                                                                                                         ONE LOWENSTEIN DRIVE                               ABEHLMANN@LOWENSTEIN.COM              First Class Mail and
COUNSEL TO LIQUIDITY SOLUTIONS GLOBAL LTD. (THE “LSG”)                          LOWENSTEIN SANDLER LLP                   ROSELAND NJ 07068                                  CRESTEL@LOWENSTEIN.COM                Email
                                                                                                                         ATTN: DANIEL B. BESIKOF, ESQ.
                                                                                                                         1251 AVENUE OF THE AMERICAS                                                              First Class Mail and
COUNSEL TO EDWARD HING YUN LEE                                                  LOWENSTEIN SANDLER LLP                   NEW YORK NY 10020                                  DBESIKOF@LOWENSTEIN.COM               Email
                                                                                                                         ATTN: JEFFREY S. PRICE, MELISSA J. LEE, SCOTT C.
                                                                                                                         WILLIAMS
                                                                                                                         1201 DEMONBREUN STREET                             JPRICE@MANIERHEROD.COM
                                                                                                                         SUITE 900                                          MLEE@MANIERHEROD.COM                  First Class Mail and
COUNSEL TO PHILADELPHIA INDEMNITY INSURANCE COMPANY                             MANIER HEROD, P.C.                       NASHVILLE TN 37213                                 SWILLIAMS@MANIERHEROD.COM             Email
                                                                                                                         ATTN: DAVID ADLER ESQ.
                                                                                                                         WORLDWIDE PLAZA
                                                                                                                         825 EIGHTH AVE., 31ST FLOOR                                                              First Class Mail and
COUNSEL TO SUNIL KAVURI, AHMED ABD‐EL‐RAZEK NOIA CAPITAL SARL, PAT RABITTE      MCCARTER & ENGLISH LLP                   NEW YORK NY 10019                                  DADLER@MCCARTER.COM                   Email
                                                                                                                         ATTN: KATE ROGGIO BUCK, MATTHEW J. RIFINO,
                                                                                                                         SHANNON D. HUMISTON
                                                                                                                         RENAISSANCE CENTRE                                 KBUCK@MCCARTER.COM
COUNSEL TO LIGHTCONE INFRASTRUCTURE, CENTER FOR APPLIED RATIONALITY (“CFAR”),                                            405 N. KING STREET, 8TH FLOOR                      MRIFINO@MCCARTER.COM                  First Class Mail and
SUNIL KAVURI, AHMED ABD‐EL‐RAZEK NOIA CAPITAL SARL, PAT RABITTE, BIDDER 1       MCCARTER & ENGLISH LLP                   WILMINGTON DE 19801                                SHUMISTON@MCCARTER.COM                Email
                                                                                                                         ATTN: LISA S. BOSSALL, PHILLIP S. PAVLICK
                                                                                                                         FOUR GATEWAY CENTER
                                                                                                                         100 MULBERYY STREET                                LLBONSALL@MCCARTER.COM                First Class Mail and
COUNSEL TO BIDDER 1                                                             MCCARTER & ENGLISH LLP                   NEWARK NJ 07102                                    PPAVLICK@MCCARTER.COM                 Email
                                                                                                                         ATTN: DARREN AZMAN, JOHN J. CALANDRA               DAZMAN@MWE.COM
PLAN ADMINISTRATOR (THE “PLAN ADMINISTRATOR”) AS MANAGER OF VOYAGER DIGITAL                                              JOSEPH B. EVANS, ELIZABETH RODD                    JCALANDRA@MWE.COM
HOLDINGS, INC., VOYAGER DIGITAL LTD., AND VOYAGER DIGITAL, LLC, THE WIND‐DOWN                                            ONE VANDERBILT AVENUE                              JBEVANS@MWE.COM                       First Class Mail and
DEBTORS                                                                         MCDERMOTT WILL & EMERY LLP               NEW YORK NY 10017‐3852                             ERODD@MWE.COM                         Email
                                                                                                                         ATTN: MARIS J. KANDESTIN
PLAN ADMINISTRATOR (THE “PLAN ADMINISTRATOR”) AS MANAGER OF VOYAGER DIGITAL                                              THE NEMOURS BUIDLING
HOLDINGS, INC., VOYAGER DIGITAL LTD., AND VOYAGER DIGITAL, LLC, THE WIND‐DOWN                                            1007 NORTH ORANGE STREET, 10TH FLOOR                                                     First Class Mail and
DEBTORS                                                                         MCDERMOTT WILL & EMERY LLP               WILMINGTON DE 19801                                MKANDESTIN@MWE.COM                    Email



         In re: FTX Trading Ltd., et al.
         Case No. 22‐11068 (JTD)                                                                                 Page 8 of 16
                                                            Case 22-11068-JTD                     Doc 20627                   Filed 07/16/24           Page 12 of 21
                                                                                                                Exhibit A
                                                                                                          Core/2002 Service List
                                                                                                         Served as set forth below


                                           DESCRIPTION                                          NAME                                         ADDRESS                                        EMAIL           METHOD OF SERVICE
                                                                                                                       ATTN: GARY D. BRESSLER, DAVID P. PRIMACK
                                                                                                                       300 DELAWARE AVENUE
                                                                              MCELROY, DEUTSCH, MULVANEY &             SUITE 1014                                        GBRESSLER@MDMC‐LAW.COM            First Class Mail and
COUNSEL TO PHILADELPHIA INDEMNITY INSURANCE COMPANY                           CARPENTER, LLP                           WILMINGTON DE 19801                               DPRIMACK@MDMC‐LAW.COM             Email
                                                                                                                       ATTN: GARY D. BRESSLER, GASTON P. LOOMIS
                                                                                                                       300 DELAWARE AVENUE
                                                                              MCELROY, DEUTSCH, MULVANEY &             SUITE 1014                                        GBRESSLER@MDMC‐LAW.COM            First Class Mail and
COUNSEL TO NEW JERSEY BUREAU OF SECURITIES                                    CARPENTER, LLP                           WILMINGTON DE 19801                               GLOOMIS@MDMC‐LAW.COM              Email
                                                                                                                       ATTN: JEFFREY BERNSTEIN
                                                                                                                       570 BROAD STREET
                                                                              MCELROY, DEUTSCH, MULVANEY &             SUITE 1401                                                                          First Class Mail and
COUNSEL TO NEW JERSEY BUREAU OF SECURITIES                                    CARPENTER, LLP                           NEWARK NJ 07102                                   JBERNSTEIN@MDMC‐LAW.COM           Email
                                                                                                                       ATTN: MICHAEL R. MORANO, ESQ.
                                                                                                                       1300 MT. KEMBLE AVENUE
                                                                              MCELROY, DEUTSCH, MULVANEY &             P.O. BOX 2075                                                                       First Class Mail and
COUNSEL TO PHILADELPHIA INDEMNITY INSURANCE COMPANY                           CARPENTER, LLP                           MORRISTOWN NJ 07962                               MMORANO@MDMC‐LAW.COM              Email
                                                                                                                       ATTN: NICOLE LEONARD
                                                                                                                       225 LIBERTY STREET
                                                                              MCELROY, DEUTSCH, MULVANEY &             36TH FLOOR                                                                          First Class Mail and
COUNSEL TO NEW JERSEY BUREAU OF SECURITIES                                    CARPENTER, LLP                           NEW YORK NY 10281                                 NLEONARD@MDMC‐LAW.COM             Email
                                                                                                                       BANKRUPTCY UNIT
                                                                              MIAMI‐DADE OFFICE OF THE TAX             200 NW 2ND AVENUE, #430                           PRISCILLA.WINDLEY@MIAMIDADE.GOV   First Class Mail and
GOVERNMENTAL                                                                  COLLECTOR                                MIAMI FL 33128                                    MDTCBKC@MIAMIDADE.GOV             Email

                                                                                                                       ATTN: ALEC J. BERIN, ESQ.
                                                                                                                       1845 WALNUT STREET
                                                                                                                       SUITE 806                                                                           First Class Mail and
COUNSEL TO ELD CAPITAL LLC, DOMINIC JOHN CUBITT, AND LEONA SAMMON             MILLER SHAH LLP                          PHILADELPHIA PA 19103                             AJBERIN@MILLERSHAH.COM            Email
                                                                                                                       ATTN: JAMES E. MILLER, ESQ.
                                                                                                                       65 MAIN STREET                                                                      First Class Mail and
COUNSEL TO ELD CAPITAL LLC, DOMINIC JOHN CUBITT, AND LEONA SAMMON             MILLER SHAH LLP                          CHESTER CT 06412                                  JEMILLER@MILLERSHAH.COM           Email
                                                                                                                       ATTN: STEVEN A. GINTHER, GENERAL COUNSEL
                                                                                                                       PO BOX 475                                                                          First Class Mail and
MISSOURI DEPARTMENT OF REVENUE                                                MO BANKRUPTCY UNIT                       JEFFERSON CITY MO 65105‐0475                      DEECF@DOR.MO.GOV                  Email
                                                                                                                       ATTN: JODY C. BARILLARE
                                                                                                                       1201 N. MARKET STREET
COUNSEL TO THE JOINT PROVISIONAL LIQUIDATORS OF EMERGENT FIDELITY TECHNOLOGIES                                         SUITE 2201                                                                          First Class Mail and
LTD                                                                            MORGAN, LEWIS & BOCKIUS LLP             WILMINGTON DE 19801                               JODY.BARILLARE@MORGANLEWIS.COM    Email


                                                                                                                       ATTN: JOHN C. GOODCHILD III; MATTHEW C. ZIEGLER
COUNSEL TO THE JOINT PROVISIONAL LIQUIDATORS OF EMERGENT FIDELITY TECHNOLOGIES                                         1701 MARKET STREET                                JOHN.GOODCHILD@MORGANLEWIS.COM    First Class Mail and
LTD                                                                            MORGAN, LEWIS & BOCKIUS LLP             PHILADELPHIA PA 19103                             MATTHEW.ZIEGLER@MORGANLEWIS.COM   Email
                                                                                                                       ATTN: JOSHUA DORCHAK; DAVID K. SHIM
COUNSEL TO THE JOINT PROVISIONAL LIQUIDATORS OF EMERGENT FIDELITY TECHNOLOGIES                                         101 PARK AVENUE                                   JOSHUA.DORCHAK@MORGANLEWIS.COM    First Class Mail and
LTD                                                                            MORGAN, LEWIS & BOCKIUS LLP             NEW YORK NY 10178                                 DAVID.SHIM@MORGANLEWIS.COM        Email




         In re: FTX Trading Ltd., et al.
         Case No. 22‐11068 (JTD)                                                                               Page 9 of 16
                                                            Case 22-11068-JTD                   Doc 20627                   Filed 07/16/24              Page 13 of 21
                                                                                                                Exhibit A
                                                                                                          Core/2002 Service List
                                                                                                         Served as set forth below


                                           DESCRIPTION                                       NAME                                             ADDRESS                                          EMAIL             METHOD OF SERVICE
                                                                                                                       ATTN: ERIC J. MONZO, TARA C. PAKROUH,
COUNSEL TO MICHAEL BURGESS, HUY XUAN “KEVIN” NGUYEN, JING YU                                                           CHRISTOPHER M. DONNELLY                              EMONZO@MORRISJAMES.COM
“DARREN” WONG, MATTHEW BURGESS, LESLEY BURGESS, 3TWELVE VENTURES LTD., AND                                             500 DELAWARE AVENUE SUITE 1500                       TPAKROUH@MORRISJAMES.COM            First Class Mail and
BDK CONSULTING LTD, GENETIC NETWORKS LLC                                     MORRIS JAMES LLP                          WILMINGTON DE 19801                                  CDONNELY@MORRISJAMES.COM            Email
                                                                                                                       ATTN: ERIC J. MONZO, SARAH M. ENNIS
                                                                                                                       TARA C. PAKROUTH                                     EMONZO@MORRISJAMES.COM
                                                                                                                       500 DELAWARE AVENUE, SUITE 1500                      SENNIS@MORRISJAMES.COM              First Class Mail and
COUNSEL TO LAURENCE BEAL                                                     MORRIS JAMES LLP                          WILMINGTON DE 19801                                  TPAKROUH@MORRISJAMES.COM            Email
                                                                                                                       ATTN: DONNA L. CULVER, DANIEL B. BUTZ
                                                                                                                       1201 NORTH MARKET STREET, 16TH FLOOR
                                                                                                                       P.O. BOX 1347                                        DCULVER@MORRISNICHOLS.COM           First Class Mail and
COUNSEL TO STEADVIEW CAPITAL MAURITIUS LIMITED                               MORRIS, NICHOLS, ARSHT & TUNNELL LLP      WILMINGTON DE 19899‐1347                             DBUTZ@MORRISNICHOLS.COM             Email
                                                                                                                       ATTN: MATTHEW B. HARVEY
                                                                                                                       1201 NORTH MARKET STREET, 16TH FLOOR                                                     First Class Mail and
COUNSEL TO THE AD HOC COMMITTEE OF NON US CUSTOMERS OF FTX.COM               MORRIS, NICHOLS, ARSHT & TUNNELL LLP      WILMINGTON DE 19801                                  MHARVEY@MORRISNICHOLS.COM           Email
                                                                                                                       ATTN: JOSEPH T. MOLDOVAN, HEATH D. ROSENBLAT;
                                                                                                                       JASON P. GOTTLIEB, MICHAEL MIX                       JMOLDOVAN@MORRISONCOHEN.COM
                                                                                                                       909 THIRD AVENUE                                     HROSENBLAT@MORRISONCOHEN.COM
                                                                                                                       27TH FLOOR                                           JGOTTLIEB@MORRISONCOHEN.COM         First Class Mail and
COUNSEL TO LOREM IPSUM UG, PATRICK GRUHN, ROBIN MATZKE, AND BRANDON WILLIAMS MORRISON COHEN LLP                        NEW YORK NY 10022                                    MMIX@MORRISONCOHEN.COM              Email
                                                                                                                       ATTN: KAREN CORDRY
                                                                             NATIONAL ASSOCIATION OF ATTORNEYS         1850 M ST., NW 12TH FLOOR
NATIONAL ASSOCIATION OF ATTORNEYS GENERAL                                    GENERAL                                   WASHINGTON DC 20036                                  KCORDRY@NAAG.ORG                    Email
                                                                                                                       ATTN: LINFENG DONG, OMC CHAMBERS
                                                                                                                       WICKHAMS CAY 1                                                                           First Class Mail and
COMMITTEE OF UNSECURED CREDITORS                                             OCTOPUS INFORMATION LTD                   ROAD TOWN, TORTOLA BRITISH VIRGIN ISLANDS            OCTOPUS_FTX@TEAMB.CN                Email
                                                                                                                       ATTN: AMY L. PATTERSON
                                                                             OFFICE OF THE ATTORNEY GENERAL OF         40 CAPITOL SQUARE, S.W.                                                                  First Class Mail and
COUNSEL TO THE GEORGIA DEPARTMENT OF BANKING AND FINANCE                     GEORGIA                                   ATLANTA GA 30334                                     APATTERSON@LAW.GA.GOV               Email

                                                                                                                       ATTN: ROMA N. DESAI, LAYLA D. MILLIGAN, ABIGAIL R.   ROMA.DESAI@OAG.TEXAS.GOV
                                                                             OFFICE OF THE ATTORNEY GENERAL OF         RYAN, STEPHANIE EBERHARDT                            LAYLA.MILLIGAN@OAG.TEXAS.GOV
COUNSEL TO THE TEXAS STATE SECURITIES BOARD AND THE TEXAS DEPARTMENT OF      TEXAS, BANKRUPTCY & COLLECTIONS           P.O. BOX 12548 MC008                                 ABIGAIL.RYAN@OAG.TEXAS.GOV          First Class Mail and
BANKING, STATE OF TEXAS                                                      DIVISION                                  AUSTIN TX 78711‐2548                                 STEPHANIE.EBERHARDT@OAG.TEXAS.GOV   Email
                                                                                                                       ATTN: JOHN P. REDING
                                                                                                                       100 W. RANDOLPH ST.
                                                                             OFFICE OF THE ILLINOIS ATTORNEY           SUITE 13‐225                                                                             First Class Mail and
COUNSEL TO ILLINOIS DEPARTMENT OF FINANCIAL & PROFESSIONAL REGULATION        GENERAL                                   CHICAGO IL 60601                                     JOHN.REDING@ILAG.GOV                Email
                                                                                                                       ATTN: ROBERT J. ROCK
COUNSEL TO THE NEW YORK STATE                                                OFFICE OF THE NEW YORK STATE              THE CAPITOL                                                                              First Class Mail and
DEPARTMENT OF TAXATION AND FINANCE (“NYSTAX”)                                ATTORNEY GENERAL                          ALBANY NY 12224‐0341                                 ROBERT.ROCK@AG.NY.GOV               Email
                                                                                                                       ATTN: Laura L. McCloud
                                                                             OFFICE OF THE TN ATTORNEY GENERAL,        PO BOX 20207
TN DEPT OF FINANCIAL INSTITUTIONS                                            BANKRUPTCY DIVISION                       NASHVILLE TN 37202‐0207                                                                  First Class Mail




         In re: FTX Trading Ltd., et al.
         Case No. 22‐11068 (JTD)                                                                               Page 10 of 16
                                                             Case 22-11068-JTD                      Doc 20627                    Filed 07/16/24             Page 14 of 21
                                                                                                                     Exhibit A
                                                                                                             Core/2002 Service List
                                                                                                            Served as set forth below


                                           DESCRIPTION                                           NAME                                          ADDRESS                                         EMAIL            METHOD OF SERVICE
                                                                                                                           ATTN: BENJAMIN A. HACKMAN, DAVID GERARDI,
                                                                                                                           JON.LIPSHIE
                                                                                                                           844 KING STREET, ROOM 2207                        BENJAMIN.A.HACKMAN@USDOJ.GOV
                                                                                                                           LOCKBOX #35                                       DAVID.GERARDI@USDOJ.GOV
UNITED STATES TRUSTEE DISTRICT OF DELAWARE                                       OFFICE OF THE UNITED STATES TRUSTEE       WILMINGTON DE 19899‐0035                          JON.LIPSHIE@USDOJ.GOV             Email
                                                                                                                           ATTN: LINDA RICHENDERFER, ESQ.
                                                                                                                           J. CALEB BOGGS FEDERAL BUILDING
                                                                                                                           844 KING STREET, SUITE 2207, LOCKBOX 35
OFFICE OF THE UNITED STATES TRUSTEE                                              OFFICE OF THE UNITED STATES TRUSTEE       WILMINGTON DE 19801                               LINDA.RICHENDERFER@USDOJ.GOV      Email
                                                                                                                           ATTN: JASON H. ROSELL, COLIN R. ROBINSON
                                                                                                                           919 N. MARKET STREET
                                                                                                                           17TH FLOOR                                        JROSELL@PSZJLAW.COM               First Class Mail and
COUNSEL TO D1 VENTURES                                                           PACHULSKI STANG ZIEHL & JONES LLP         WILMINGTON DE 19801                               CROBINSON@PSZJLAW.COM             Email
                                                                                                                           ATTN: LAURA DAVIS JONES, PETER J. KEANE, EDWARD
                                                                                                                           A. CORMA
                                                                                                                           919 N. MARKET STREET, 17TH FLOOR                  LJONES@PSZJLAW.COM
COUNSEL TO LOREM IPSUM UG, PATRICK GRUHN, ROBIN MATZKE, AND BRANDON WILLIAMS,                                              P.O. BOX 8705                                     PKEANE@PSZJLAW.COM                First Class Mail and
SIDAR SAHIN                                                                   PACHULSKI STANG ZIEHL & JONES LLP            WILMINGTON DE 19899‐8705                          ECORMA@PSZJLAW.COM                Email
                                                                                                                           ATTN: TEDDY M. KAPUR
                                                                                                                           10100 SANTA MONICA BLVD.
                                                                                                                           13TH FLOOR                                                                          First Class Mail and
COUNSEL TO SIDAR SAHIN                                                           PACHULSKI STANG ZIEHL & JONES LLP         LOS ANGELES CA 90067‐4003                         TKAPUR@PSZJLAW.COM                Email
                                                                                                                           ATTN: TEDDY M. KAPUR
                                                                                                                           10100 SANTA MONIVA BLVD
                                                                                                                           13TH FLOOR                                                                          First Class Mail and
COUNSEL TO SIDHAR SAHIN                                                          PACHULSKI STANG ZIEHL & JONES LLP         LOS ANGELES CA 90067‐4003                         TKAPUR@PSZJLAW.COM                Email
                                                                                                                           ATTN: JASON H. ROSELL, MARY F. CALOWAY
                                                                                                                           ONE SANSOME STREET
COUNSEL TO THE MOSKOWITZ LAW FIRM, PLLC AND BOIES SCHILLER FLEXNER LLP ("FTX MDL                                           SUITE 3430                                        JROSELL@PSZJLAW.COM               First Class Mail and
CO‐LEAD COUNSEL")                                                                PACHULSKI STANG ZIEHL & JONES LLP         SAN FRANCISCO CA 94104                            MCALOWAY@PSZJLAW.COM              Email
                                                                                                                           ATTN: JOHN W. WEISS, ALEXIS R. GAMBALE
                                                                                                                           824 NORTH MARKET STREET
                                                                                                                           SUITE 800                                         JWEISS@PASHMANSTEIN.COM           First Class Mail and
COUNSEL TO BINANCE (SWITZERLAND) AG                                              PASHMAN STEIN WALDER HAYDEN, P.C.         WILMINGTON DE 19801                               AGAMBALE@PASHMANSTEIN.COM         Email

                                                                                                                                                                             GABESASSON@PAULHASTINGS.COM
                                                                                                                           ATTN: GABE E. SASSON, KRISTOPHER M. HANSEN,       KRISHANSEN@PAULHASTINGS.COM
                                                                                                                           KENNETH PASQUALE, LUC A. DESPINS, EREZ E. GILAD   KENPASQUALE@PAULHASTINGS.COM
                                                                                                                           AND SAMANTHA MARTIN                               EREZGILAD@PAULHASTINGS.COM
                                                                                                                           200 PARK AVENUE                                   LUCDESPINS@PAULHASTINGS.COM       First Class Mail and
COUNSEL TO OFFICIAL COMMITTEE OF UNSECURED CREDITORS                             PAUL HASTINGS                             NEW YORK NY 10166                                 SAMANTHAMARTIN@PAULHASTINGS.COM   Email




         In re: FTX Trading Ltd., et al.
         Case No. 22‐11068 (JTD)                                                                                  Page 11 of 16
                                                                  Case 22-11068-JTD                       Doc 20627                  Filed 07/16/24              Page 15 of 21
                                                                                                                         Exhibit A
                                                                                                                   Core/2002 Service List
                                                                                                                  Served as set forth below


                                            DESCRIPTION                                               NAME                                           ADDRESS                                       EMAIL        METHOD OF SERVICE


COUNSEL TO EMBED SHAREHOLDER DEFENDANTS THE 2016 KARKAL FAMILY TRUST; ACREW
CAPITAL FUND (A), L.P.; ACREW CAPITAL FUND, L.P.; ACREW CAPITAL MGP, LLC; BAIN CAPITAL
VENTURE FUND 2019 LP; BCIP VENTURE ASSOCIATES II, L.P.; BCIP VENTURE ASSOCIATES II‐B,
L.P.; BCV 2019‐MD PRIMARY, L.P.; BUCKLEY VENTURES GP, LLC; BUCKLEY VENTURES, LP;
CORRELATION VENTURES II, LP; FIN VC REGATTA I, LP; HOMEBREW VENTURES III, LP;
JONATHAN CHRISTODORO; KAMRAN ANSARI; LAUNCHPAD CAPITAL FUND I LP; LGF II, L.P.;
LIQUID 2 VENTURES FUND II, L.P.; PROPEL VENTURE PARTNERS, LLC; PROPEL VENTURE
PARTNERS US FUND I LP; PUTNAM (WARREN LOWELL PUTNAM & BRYNN JINNETT PUTNAM,
TENANTS IN COMMON); SAMUEL JONES; TORCH CAPITAL II, LP; TRANSPOSE PLATFORM                                                       ATTN: ELIZABETH WANG, DANIEL A. MASON
O/B/O TI PLATFORM FUND II; TI PLATFORM NLI VENTURE LIMITED II; TRANSPOSE PLATFORM                                                1313 NORTH MARKET STREET, SUITE 806
FINTECH FUND II, L.P.; TI PLATFORM FUND II, LP; TREASURY FUND I, LP; Y COMBINATOR; Y   PAUL, WEISS, RIFKIND, WHARTON &           POST OFFICE BOX 32                              DMASON@PAULWEISS.COM          First Class Mail and
COMBINATOR ES20, LLC; AND YCC20, L.P.                                                  GARRISON LLP                              WILMINGTON DE 19899‐0032                        EWANG@PAULWEISS.COM           Email

COUNSEL TO EMBED SHAREHOLDER DEFENDANTS THE 2016 KARKAL FAMILY TRUST; ACREW
CAPITAL FUND (A), L.P.; ACREW CAPITAL FUND, L.P.; ACREW CAPITAL MGP, LLC; BAIN CAPITAL
VENTURE FUND 2019 LP; BCIP VENTURE ASSOCIATES II, L.P.; BCIP VENTURE ASSOCIATES II‐B,
L.P.; BCV 2019‐MD PRIMARY, L.P.; BUCKLEY VENTURES GP, LLC; BUCKLEY VENTURES, LP;
CORRELATION VENTURES II, LP; FIN VC REGATTA I, LP; HOMEBREW VENTURES III, LP;
JONATHAN CHRISTODORO; KAMRAN ANSARI; LAUNCHPAD CAPITAL FUND I LP; LGF II, L.P.;
LIQUID 2 VENTURES FUND II, L.P.; PROPEL VENTURE PARTNERS, LLC; PROPEL VENTURE
PARTNERS US FUND I LP; PUTNAM (WARREN LOWELL PUTNAM & BRYNN JINNETT PUTNAM,
TENANTS IN COMMON); SAMUEL JONES; TORCH CAPITAL II, LP; TRANSPOSE PLATFORM                                                       ATTN: WILLIAM A. CLAREMAN, GREGORY F. LAUFER,
O/B/O TI PLATFORM FUND II; TI PLATFORM NLI VENTURE LIMITED II; TRANSPOSE PLATFORM                                                KENNETH S. ZIMAN                                WCLAREMAN@PAULWEISS.COM
FINTECH FUND II, L.P.; TI PLATFORM FUND II, LP; TREASURY FUND I, LP; Y COMBINATOR; Y   PAUL, WEISS, RIFKIND, WHARTON &           1285 AVENUE OF THE AMERICAS                     GLAUFER@PAULWEISS.COM         First Class Mail and
COMBINATOR ES20, LLC; AND YCC20, L.P.                                                  GARRISON LLP                              NEW YORK NY 10019‐6064                          KZIMAN@PAULWEISS.COM          Email


COUNSEL TO EMBED SHAREHOLDER DEFENDANTS THE 2016 KARKAL FAMILY TRUST; ACREW
CAPITAL FUND (A), L.P.; ACREW CAPITAL FUND, L.P.; ACREW CAPITAL MGP, LLC; BAIN CAPITAL
VENTURE FUND 2019 LP; BCIP VENTURE ASSOCIATES II, L.P.; BCIP VENTURE ASSOCIATES II‐B,
L.P.; BCV 2019‐MD PRIMARY, L.P.; BUCKLEY VENTURES GP, LLC; BUCKLEY VENTURES, LP;
CORRELATION VENTURES II, LP; FIN VC REGATTA I, LP; HOMEBREW VENTURES III, LP;
JONATHAN CHRISTODORO; KAMRAN ANSARI; LAUNCHPAD CAPITAL FUND I LP; LGF II, L.P.;
LIQUID 2 VENTURES FUND II, L.P.; PROPEL VENTURE PARTNERS, LLC; PROPEL VENTURE
PARTNERS US FUND I LP; PUTNAM (WARREN LOWELL PUTNAM & BRYNN JINNETT PUTNAM,
TENANTS IN COMMON); SAMUEL JONES; TORCH CAPITAL II, LP; TRANSPOSE PLATFORM                                                       ATTN:RANDALL S. LUSKEY
O/B/O TI PLATFORM FUND II; TI PLATFORM NLI VENTURE LIMITED II; TRANSPOSE PLATFORM                                                535 MISSION STREET
FINTECH FUND II, L.P.; TI PLATFORM FUND II, LP; TREASURY FUND I, LP; Y COMBINATOR; Y   PAUL, WEISS, RIFKIND, WHARTON &           24TH FLOOR                                                                    First Class Mail and
COMBINATOR ES20, LLC; AND YCC20, L.P.                                                  GARRISON LLP                              SAN FRANCISCO CA 94105                          RLUSKEY@PAULWEISS.COM         Email
                                                                                                                                 ATTTN: M. BLAKE CLEARY, R. STEPHEN MCNEILL,
                                                                                                                                 SAMEEN RIZVI, ESQ.                              BCLEARY@POTTERANDERSON.COM
                                                                                                                                 1313 N. MARKET STREET, 6TH FLOOR                RMCNEILL@POTTERANDERSON.COM   First Class Mail and
COUNSEL TO LAYERZERO LABS LTD., ARI LITAN AND SKIP & GOOSE, LLC                      POTTER ANDERSON & CORROON LLP               WILMINGTON DE 19801                             SRIZVI@POTTERANDERSON.COM     Email
                                                                                                                                 ATTN: BRIAN S. ROSEN, DYLAN J. MARKER
                                                                                                                                 ELEVEN TIMES SQUARE                             BROSEN@PROSKAUER.COM          First Class Mail and
COUNSEL TO LAYERZERO LABS LTD., ARI LITAN AND SKIP & GOOSE, LLC                      PROSKAUER ROSE LLP                          NEW YORK NY 10036‐8299                          DMARKER@PROSKAUER.COM         Email
                                                                                                                                 ATTN: JORDAN E. SAZANT
                                                                                                                                 70 WEST MADISON STREET
                                                                                                                                 SUITE 3800                                                                    First Class Mail and
COUNSEL TO LAYERZERO LABS LTD., ARI LITAN AND SKIP & GOOSE, LLC                      PROSKAUER ROSE LLP                          CHICAGO IL 60602‐4342                           JSAZANT@PROSKAUER.COM         Email




          In re: FTX Trading Ltd., et al.
          Case No. 22‐11068 (JTD)                                                                                        Page 12 of 16
                                                                Case 22-11068-JTD                        Doc 20627                  Filed 07/16/24                 Page 16 of 21
                                                                                                                        Exhibit A
                                                                                                                  Core/2002 Service List
                                                                                                                 Served as set forth below


                                            DESCRIPTION                                               NAME                                          ADDRESS                                          EMAIL        METHOD OF SERVICE
                                                                                                                          ATTN: BRIAN SIMMS, K.C., KEVIN CAMBRIDGE, PETER
                                                                                                                          GREAVES
                                                                                                                          3 BAYSIDE EXECUTIVE PARK, WEST BAY STREET &
                                                                                                                          BLAKE ROAD                                              BSIMMS@LENNOXPATON.COM
                                                                                    PROVISIONAL LIQUIDATOR OF FTX DIGITAL PO BOX N‐4875                                           KEVIN.CAMBRIDGE@PWC.COM        First Class Mail and
PROVISIONAL LIQUIDATOR OF FTX DIGITAL MARKETS LTD.                                  MARKETS LTD.                          NASSAU THE BAHAMAS                                      PETER.GREAVES@HK.PWC.COM       Email
                                                                                                                               ATTN: SETH H. LIEBERMAN, ESQ. RICHARD LEVY, JR.,
                                                                                                                               ESQ. ANDREW S. RICHMOND, ESQ.
                                                                                                                               7 TIMES SQUARE
                                                                                                                               40TH FLOOR                                         SLIEBERMAN@PRYORCASHMAN.COM    First Class Mail and
COUNSEL TO LITIGATION ADMINISTRATOR FOR CELSIUS NETWORK, LLC                        PRYOR CASHMAN LLP                          NEW YORK NY 10036                                  RLEVY@PRYORCASHMAN.COM         Email
                                                                                                                               ATTN: MICHELE WAN AND JACKY YIP
                                                                                                                               UNIT 903‐905, K11 ATELIER VICTORIA DOCKSIDE
                                                                                                                               18 SALISBURY ROAD                                  MICHELE.WAN@PULSAR.COM         First Class Mail and
COMMITTEE OF UNSECURED CREDITORS                                                    PULSAR GLOBAL LTD                          KOWLOON HONG KONG                                  JACKY.YIP@PULSAR.COM           Email

                                                                                                                               ATTN: AARON JAVIAN
COUNSEL TO FOUNDATION SERENDIPITY, FOUNDATION ELEMENTS, SERENDIPITY NETWORK                                                    599 LEXINGTON AVENUE                                                              First Class Mail and
LTD, AND LIQUDITY NETWORK LTD                                                       REED SMITH LLP                             NEW YORK NY 10022                                  AJAVIAN@REEDSMITH.COM          Email
                                                                                                                               ATTN: KURT F. GWYNNE
                                                                                                                               1201 N. MARKET STREET
COUNSEL TO FOUNDATION SERENDIPITY, FOUNDATION ELEMENTS, SERENDIPITY NETWORK                                                    SUITE 1500                                                                        First Class Mail and
LTD, AND LIQUDITY NETWORK LTD                                                       REED SMITH LLP                             WILMINGTON DE 19801                                KGWYNNE@REEDSMITH.COM          Email

                                                                                                                               ATTN: NICHOLAS A. PASALIDES, ESQ.
                                                                                                                               235 MAIN STREET, SUITE 450                                                        First Class Mail and
COUNSEL TO CHAINALYSIS INC.                                                         REICH REICH & REICH, P.C.                  WHITE PLAINS NY 10601                              NPASALIDES@REICHPC.COM         Email

                                                                                                                               ATTN: KEVIN GROSS, PAUL N. HEATH, DAVID T.
                                                                                                                               QUEROLI, BRENDAN J. SCHLAUCH                       GROSS@RLF.COM
COUNSEL TO THE JOINT PROVISIONAL LIQUIDATORS OF FTX DIGITAL MARKETS LTD. (IN                                                   ONE RODNEY SQUARE                                  HEATH@RLF.COM
PROVISIONAL LIQUIDATION), JOINT OFFICIAL LIQUIDATORS OF FTX DIGITAL MARKETS LTD. (IN                                           920 NORTH KING STREET                              QUEROLI@RLF.COM                First Class Mail and
OFFICIAL LIQUIDATION)                                                                RICHARDS, LAYTON & FINGER, P.A.           WILMINGTON DE 19801                                SCHLAUCH@RLF.COM               Email
                                                                                                                               ATTN: FREDERICK CHANG
                                                                                                                               506 2ND AVE., SUITE 1400                                                          First Class Mail and
COUNSEL TO BASTION WORLDWIDE LIMITED                                                RIMON, P.C.                                SEATTLE WA 98104                                   FREDERICK.CHANG@RIMONLAW.COM   Email
                                                                                                                               ATTN: JACQUELYN H. CHOI
                                                                                                                               2029 CENTURY PARK EAST, SUITE 400N                                                First Class Mail and
COUNSEL TO BASTION WORLDWIDE LIMITED                                                RIMON, P.C.                                LOS ANGELES CA 90067                               JACQUELYN.CHOI@RIMONLAW.COM    Email

                                                                                                                               ATTN: JAMIE L. EDMONSON
                                                                                                                               1201 N. MARKET STREET
                                                                                                                               SUITE 1406                                                                        First Class Mail and
COUNSEL FOR NORTH AMERICAN LEAGUE OF LEGENDS CHAMPIONSHIP SERIES, LLC               ROBINSON & COLE LLP                        WILMINGTON DE 19801                                JEDMONSON@RC.COM               Email
                                                                                                                               ATTN: LUCIAN B. MURLEY
                                                                                                                               1201 NORTH MARKET STREET, SUITE 2300
COUNSEL TO THE DEFENDANT WILLIAM HOCKEY LIVING TRUST & DEFENDANTS LISTED ON                                                    P.O. BOX 1266                                                                     First Class Mail and
EXHIBIT A                                                                           SAUL EWING LLP                             WILMINGTON DE 19899                                LUKE.MURLEY@SAUL.COM           Email

                                                                                                                               ATTN: DOUGLAS S. MINTZ
                                                                                                                               555 13TH STREET, NW, SUITE 6W                                                     First Class Mail and
COUNSEL TO STEADVIEW CAPITAL MAURITIUS LIMITED                                      SCHULTE ROTH & ZABEL LLP                   WASHINGTON DC 20004                                DOUGLAS.MINTZ@SRZ.COM          Email



          In re: FTX Trading Ltd., et al.
          Case No. 22‐11068 (JTD)                                                                                      Page 13 of 16
                                                           Case 22-11068-JTD                     Doc 20627                     Filed 07/16/24             Page 17 of 21
                                                                                                                   Exhibit A
                                                                                                             Core/2002 Service List
                                                                                                            Served as set forth below


                                           DESCRIPTION                                        NAME                                            ADDRESS                                        EMAIL        METHOD OF SERVICE
                                                                                                                          ATTN: REUBEN E. DIZENGOFF
                                                                                                                          919 THIRD AVENUE                                                               First Class Mail and
COUNSEL TO STEADVIEW CAPITAL MAURITIUS LIMITED                                SCHULTE ROTH & ZABEL LLP                    NEW YORK NY 10022                              REUBEN.DIZENGOFF@SRZ.COM        Email
                                                                                                                          SECRETARY OF THE TREASURY
                                                                                                                          100 F. STREET NE                                                               First Class Mail and
SECURITIES AND EXCHANGE COMMISSION ‐ HEADQUARTERS                             SECURITIES & EXCHANGE COMMISSION            WASHINGTON DC 20549                            SECBANKRUPTCY@SEC.GOV           Email
                                                                                                                    ATTN: BANKRUPTCY DEPT
                                                                                                                    BROOKFIELD PLACE
                                                                              SECURITIES & EXCHANGE COMMISSION ‐ NY 200 VESEY STREET, STE 400                            BANKRUPTCYNOTICESCHR@SEC.GOV    First Class Mail and
SECURITIES AND EXCHANGE COMMISSION ‐ REGIONAL OFFICE                          OFFICE                                NEW YORK NY 10281‐1022                               NYROBANKRUPTCY@SEC.GOV          Email

                                                                                                                          ATTN: BANKRUPTCY DEPT
                                                                                                                          ONE PENN CENTER
                                                                              SECURITIES & EXCHANGE COMMISSION ‐          1617 JFK BLVD, STE 520                                                         First Class Mail and
SECURITIES AND EXCHANGE COMMISSION ‐ REGIONAL OFFICE                          PHILADELPHIA OFFICE                         PHILADELPHIA PA 19103                          SECBANKRUPTCY@SEC.GOV           Email

                                                                                                                          ATTN: BANKRUPTCY DEPT
                                                                                                                          CARVEL STATE OFFICE BLDG.
                                                                                                                          820 N. FRENCH ST.                                                              First Class Mail and
STATE ATTORNEY GENERAL                                                        STATE OF DELAWARE ATTORNEY GENERAL          WILMINGTON DE 19801                            ATTORNEY.GENERAL@STATE.DE.US    Email
                                                                                                                          ATTN: DANIEL M. PEREIRA
                                                                                                                          1000 N. WEST STREET
                                                                                                                          SUITE 1200                                                                     First Class Mail and
COUNSEL TO NATHANIEL PARKE                                                    STRADLEY RONON STEVENS & YOUNG, LLP         WILMINGTON DE 19801                            DPEREIRA@STRADLEY.COM           Email
                                                                                                                          ATTN: DEBORAH A. REPEROWITZ
                                                                                                                          100 PARK AVENUE
                                                                                                                          SUITE 2000                                                                     First Class Mail and
COUNSEL TO NATHANIEL PARKE                                                    STRADLEY RONON STEVENS & YOUNG, LLP         NEW YORK NY 10017                              DREPEROWITZ@STRADLEY.COM        Email
                                                                                                                          ATTN: SABRINA L. STREUSAND, ANH NGUYEN
                                                                                                                          1801 S. MOPAC EXPRESSWAY
                                                                              STREUSAND, LANDON, OZBURN &                 SUITE 320                                      STREUSAND@SLOLLP.COM            First Class Mail and
COUNSEL TO CLOUDFLARE, INC.                                                   LEMMON, LLP                                 AUSTIN TX 78746                                NGUYEN@SLOLLP.COM               Email


                                                                                                                                                                             DIETDERICHA@SULLCROM.COM
                                                                                                                                                                             BROMLEYJ@SULLCROM.COM
                                                                                                                          ATTN: ANDREW G. DIETDERICH, JAMES L. BROMLEY,      GLUECKSTEINB@SULLCROM.COM
                                                                                                                          BRIAN D. GLUECKSTEIN, ALEXA J. KRANZLEY, STEVEN L. KRANZLEYA@SULLCROM.COM
                                                                                                                          HOLLEY, STEPHEN EHRENBERG, CHRISTOPHER J.          PETIFORDJ@SULLCROM.COM
                                                                                                                          DUNNE                                              HOLLEYS@SULLCROM.COM
                                                                                                                          125 BROAD STREET                                   EHRENBERGS@SULLCROM.COM
COUNSEL TO DEBTORS AND DEBTORS IN POSSESSION AND MACLAURIN INVESTMENTS LTD.   SULLIVAN & CROMWELL LLP                     NEW YORK NY 10004                                  DUNNEC@SULLCROM.COM         Email
                                                                                                                          ATTN: WILLIAM D. SULLIVAN
                                                                                                                          919 NORTH MARKET STREET, SUITE 420                                             First Class Mail and
COUNSEL FOR WORD OF GOD FELLOWSHIP, INC.                                      SULLIVAN HAZELTINE ALLINSON LLC             WILMINGTON DE 19801                            BSULLIVAN@SHA‐LLC.COM           Email
                                                                                                                          ATTN: DAVID H. WANDER, ALEXANDER R. TIKTIN
                                                                                                                          1350 BROADWAY
                                                                                                                          11TH FLOOR                                     DWANDER@TARTERKRINSKY.COM       First Class Mail and
COUNSEL TO PHALA LTD.                                                         TARTER KRINSKY & DROGIN LLP                 NEW YORK NY 10018                              ATIKTIN@TARTERKRINSKY.COM       Email




         In re: FTX Trading Ltd., et al.
         Case No. 22‐11068 (JTD)                                                                                  Page 14 of 16
                                                           Case 22-11068-JTD                      Doc 20627                    Filed 07/16/24               Page 18 of 21
                                                                                                                   Exhibit A
                                                                                                            Core/2002 Service List
                                                                                                           Served as set forth below


                                           DESCRIPTION                                         NAME                                            ADDRESS                                         EMAIL         METHOD OF SERVICE
                                                                                                                           ATTN: DARRELL DALEY, SAMANTHA NEAL
                                                                                                                           4845 PEARL EAST CIRCLE
                                                                                                                           SUITE 101                                        DARRELL@DALEYLAWYERS.COM        First Class Mail and
COUNSEL TO LOREM IPSUM UG, PATRICK GRUHN, ROBIN MATZKE, AND BRANDON WILLIAMS THE DALEY LAW FIRM                            BOULDER CO 80301                                 SAMANTHA@DALEYLAWYERS.COM       Email


                                                                                                                           ATTN: PRESIDENT OR GENERAL COUNSEL
                                                                                                                           POINCIANA HOUSE, NORTH BUILDING, 2ND FLOOR 31A
                                                                              THE SECURITIES COMMISSION OF THE             EAST BAY STREET, P.O. BOX N‐8347                                                 First Class Mail and
THE SECURITIES COMMISSION OF THE BAHAMAS                                      BAHAMAS                                      NASSAU THE BAHAMAS                             INFO@SCB.GOV.BS                   Email
                                                                                                                           ATTN: EVELYN J. MELTZER, DOUGLAS D. HERRMAN,
                                                                                                                           HEATHER P. SMILLIE
                                                                                                                           HERCULES PLAZA, SUITE 5100
                                                                              TROUTMAN PEPPER HAMILTON SANDERS             1313 N. MARKET STREET                            EVELYN.MELTZER@TROUTMAN.COM     First Class Mail and
COUNSEL FOR PARADIGM OPERATIONS LP AND DANIEL FRIEDBERG                       LLP                                          WILMINGTON DE 19899‐1709                         DOUGLAS.HERRMANN@TROUTMAN.COM   Email
                                                                                                                           ATTN: MARY M. WEEKS
                                                                                                                           600 PEACHTREE STEET NE
                                                                              TROUTMAN PEPPER HAMILTON SANDERS             SUITE 3000                                                                       First Class Mail and
COUNSEL TO DANIEL FRIEDBERG                                                   LLP                                          ATLANTA GA 30308                                 MARY.WEEKS@TROUTMAN.COM         Email
                                                                                                                           ATTN: STANTON C. MCMANUS, SETH B. SHARPIRO
                                                                                                                           CIVIL DIVISION
                                                                                                                           1100 L STREET, NW, ROOM 7208                     STANTON.C.MCMANUS@USDOJ.GOV     First Class Mail and
U.S. DEPARTMENT OF JUSTICE                                                    U.S. DEPARTMENT OF JUSTICE                   WASHINGTON DC 20005                              SETH.SHAPIRO@USDOJ.GOV          Email
                                                                                                                           ATTN: WARD W. BENSON
                                                                                                                           P.O. BOX 227, BEN FRANKLIN STATION                                               First Class Mail and
COUNSEL TO THE UNITED STATES OF AMERICA                                       U.S. DEPARTMENT OF JUSTICE                   WASHINGTON DC 20044                              WARD.W.BENSON@USDOJ.GOV         Email

                                                                                                                           ATTN: RUTH A. HARVEY, MARGARET M. NEWELL, SETH
                                                                                                                           B. SHAPIRO, STANTON C. MCMANUS
                                                                                                                           COMMERCIAL LITIGATION BRANCH
                                                                              U.S. DEPARTMENT OF JUSTICE – CIVIL           P.O. BOX 875, BEN FRANKLIN STATION             STANTON.C.MCMANUS@USDOJ.GOV       First Class Mail and
COUNSEL TO THE UNITED STATES OF AMERICA                                       DIVISION                                     WASHINGTON DC 20044‐0875                       SETH.SHAPIRO@USDOJ.GOV            Email
                                                                                                                           ATTN: ARI D. KUNOFSKY
                                                                              U.S. DEPARTMENT OF JUSTICE, TAX              P.O. BOX 227                                                                     First Class Mail and
COUNSEL TO THE UNITED STATES OF AMERICA                                       DIVISION                                     WASHINGTON DC 20044                              ARI.D.KUNOFSKY@USDOJ.GOV        Email

                                                                                                                           ATTN: ELISABETH M. BRUCE, STEPHANIE A. SASARAK
                                                                              U.S. DEPARTMENT OF JUSTICE, THE              P.O. BOX 227                                     ELISABETH.M.BRUCE@USDOJ.GOV     First Class Mail and
COUNSEL FOR THE UNITED STATES OF AMERICA                                      INTERNAL REVENUE SERVICE                     WASHINGTON DC 20044                              STEPHANIE.A.SASARAK@USDOJ.GOV   Email
                                                                                                                           ATTN: BANKRUPTCY DEPT
                                                                                                                           US DEPT OF JUSTICE
                                                                              UNITED STATES OF AMERICA ATTORNEY            950 PENNSYLVANIA AVE NW
UNITED STATES OF AMERICA                                                      GENERAL                                      WASHINGTON DC 20530‐0001                                                         First Class Mail

                                                                                                                           ATTN: DAVID C. WEISS C/O ELLEN SLIGHTS
                                                                                                                           1007 ORANGE ST STE 700
                                                                                                                           P.O. BOX 2046                                                                    First Class Mail and
US ATTORNEY FOR THE DISTRICT OF DELAWARE                                      US ATTORNEY FOR DELAWARE                     WILMINGTON DE 19899‐2046                         USADE.ECFBANKRUPTCY@USDOJ.GOV   Email
                                                                                                                           ATTN: ANDREW J. CURRIE
COUNSEL TO DIGITAL AUGEAN, LLC, AD HOC COMMITTEE OF CUSTOMERS AND CREDITORS                                                600 MASSACHUSETTS AVENUE, NW                                                     First Class Mail and
OF FTX TRADING LTD. AND OKC ENTITIES                                          VENABLE LLP                                  WASHINGTON DC 20001                              AJCURRIE@VENABLE.COM            Email



         In re: FTX Trading Ltd., et al.
         Case No. 22‐11068 (JTD)                                                                                   Page 15 of 16
                                                               Case 22-11068-JTD                       Doc 20627                Filed 07/16/24              Page 19 of 21
                                                                                                                    Exhibit A
                                                                                                              Core/2002 Service List
                                                                                                             Served as set forth below


                                           DESCRIPTION                                               NAME                                       ADDRESS                                        EMAIL        METHOD OF SERVICE
                                                                                                                           ATTN: DANIEL A. O’BRIEN
                                                                                                                           1201 N. MARKET ST.
COUNSEL TO DIGITAL AUGEAN, LLC, AD HOC COMMITTEE OF CUSTOMERS AND CREDITORS                                                SUITE 1400                                                                      First Class Mail and
OF FTX TRADING LTD. AND OKC ENTITIES                                              VENABLE LLP                              WILMINGTON DE 19801                             DAOBRIEN@VENABLE.COM            Email
                                                                                                                           ATTN: JEFFREY S. SABIN, XOCHITL S. STROHBEHN,
                                                                                                                           CAROL A. WEINER, ARIE A. PELED                  JSSABIN@VENABLE.COM
                                                                                                                           1270 AVENUE OF THE AMERICAS                     XSSTROHBEHN@VENABLE.COM
COUNSEL TO DIGITAL AUGEAN, LLC, AD HOC COMMITTEE OF CUSTOMERS AND CREDITORS                                                24TH FLOOR                                      CWEINERLEVY@VENABLE.COM         First Class Mail and
OF FTX TRADING LTD. AND OKC ENTITIES                                              VENABLE LLP                              NEW YORK NY 10020                               AAPELED@VENABLE.COM             Email
                                                                                                                           ATTN: JEFFREY S. SABIN, XOCHITL S. STROHBEHN,   JSSABIN@VENABLE.COM
                                                                                                                           CAROL A. WEINER, ARIE A. PELED                  XSSTROHBEHN@VENABLE.COM
                                                                                                                           151 WEST 42ND ST., 48TH FLOOR                   CWEINERLEVY@VENABLE.COM         First Class Mail and
COUNSEL TO OKC ENTITIES                                                           VENABLE LLP                              NEW YORK NY 10036                               AAPELED@VENABLE.COM             Email
                                                                                                                           ATTN: JENNIFER ROOD
                                                                                  VERMONT DEPARTMENT OF FINANCIAL          89 MAIN STREET, THIRD FLOOR                                                     First Class Mail and
COUNSEL FOR THE STATE OF VERMONT                                                  REGULATION                               MONTPELIER VT 05620                             JENNIFER.ROOD@VERMONT.GOV       Email
                                                                                                                           ATTN: TIFFANY STRELOW COBB, ESQ.
                                                                                                                           52 EAST GAY STREET
                                                                                                                           P.O. BOX 1008                                                                   First Class Mail and
COUNSEL TO RIBOSCIENCE LLC AND 4J THERAPEUTICS INC.                               VORYS, SATER, SEYMOUR AND PEASE LLP      COLUMBUS OH 43216‐1008                          TSCOBB@VORYS.COM                Email
                                                                                                                                                                           JESSICA.LAURIA@WHITECASE.COM
                                                                                                                           ATTN: JESSICA C. LAURIA, J. CHRISTOPHER SHORE,  CSHORE@WHITECASE.COM
COUNSEL TO THE JOINT PROVISIONAL LIQUIDATORS OF FTX DIGITAL MARKETS LTD. (IN                                               BRIAN D. PFEIFFER, MARK FRANKE, BRETT BAKEMEYER BRIAN.PFEIFFER@WHITECASE.COM
PROVISIONAL LIQUIDATION), THE JOINT OFFICIAL LIQUIDATORS OF FTX DIGITAL MARKETS                                            1221 AVENUE OF THE AMERICAS                     MARK.FRANKE@WHITECASE.COM       First Class Mail and
LTD. (IN OFFICIAL LIQUIDATION)                                                    WHITE & CASE LLP                         NEW YORK NY 10020‐1095                          BRETT.BAKEMEYER@WHITECASE.COM   Email
                                                                                                                           ATTN: THOMAS E LAURIA, RICHARD S. KEBRDLE
COUNSEL TO THE JOINT PROVISIONAL LIQUIDATORS OF FTX DIGITAL MARKETS LTD. (IN                                               200 SOUTH BISCAYNE BLVD., SUITE 4900
PROVISIONAL LIQUIDATION), THE JOINT OFFICIAL LIQUIDATORS OF FTX DIGITAL MARKETS                                            SOUTHEAST FINANCIAL CENTER                      TLAURIA@WHITECASE.COM           First Class Mail and
LTD. (IN OFFICIAL LIQUIDATION)                                                    WHITE & CASE LLP                         MIAMI FL 33131                                  RKEBRDLE@WHITECASE.COM          Email
                                                                                                                           ATTN: PETER G. NEIMAN, NICHOLAS WERLE
                                                                                                                           7 WORLD TRADE CENTER
                                                                                  WILMER CUTLER PICKERING HALE AND         150 GREENWICH STREET                            PETER.NEIMAN@WILMERHALE.COM     First Class Mail and
COUNSEL TO DEFENDANT CAROLINE ELLISON                                             DORR LLP                                 NEW YORK NY 10007                               NICK.WERLE@WILMERHALE.COM       Email
                                                                                                                           ATTN: CHARLES MELVIN, C/O WINCENT CAPITAL
                                                                                                                           MANAGEMENT
                                                                                                                           OLD POLICE STATION
                                                                                                                           120B                                                                            First Class Mail and
COMMITTEE OF UNSECURED CREDITORS                                                  WINCENT INVESTMENT FUND PCC LTD          IRISH TOWN GX11 1AA GIBRALTAR                   LEGAL@WINCENT.CO                Email
                                                                                                                           ATTN: LEGAL DEPARTMENT
                                                                                                                           24 EAN KIAM PLACE                                                               First Class Mail and
COMMITTEE OF UNSECURED CREDITORS                                                  WINTERMUTE ASIA PTE. LTD                 429115 SINGAPORE                                LEGAL@WINTERMUTE.COM            Email
                                                                                                                           ATTN: MATTHEW B. LUNN, ROBERT F. POPPITI, JR.
                                                                                  YOUNG CONAWAY STARGATT & TAYLOR,         1000 NORTH KING STREET                          MLUNN@YCST.COM                  First Class Mail and
COUNSEL TO OFFICIAL COMMITTEE OF UNSECURED CREDITORS                              LLP                                      WILMINGTON DE 19801                             RPOPPITI@YCST.COM               Email
                                                                                                                           ATTN: PETER S. PARTEE, SR
                                                                                                                           HUNTON ANDREWS KURTH LLP
                                                                                                                           200 PARK AVE                                                                    First Class Mail and
COMMITTEE OF UNSECURED CREDITORS                                                  ZACHARY BRUCH                            NEW YORK NY 10166                               PPARTEE@HUNTONAK.COM            Email




         In re: FTX Trading Ltd., et al.
         Case No. 22‐11068 (JTD)                                                                                   Page 16 of 16
Case 22-11068-JTD   Doc 20627   Filed 07/16/24   Page 20 of 21




                         Exhibit B
                                  Case 22-11068-JTD    Doc 20627       Filed 07/16/24    Page 21 of 21

                                                              Exhibit B
                                                      Fee Application Service List
                                                           Served via email

                         NAME                             NOTICE NAME                                       EMAIL
                                                                                           BENJAMIN.A.HACKMAN@USDOJ.GOV
                                         ATTN: JON LIPSHIE, BENJAMIN A. HACKMAN, DAVID     DAVID.GERARDI@USDOJ.GOV
 OFFICE OF THE UNITED STATES TRUSTEE     GERARDI                                           JON.LIPSHIE@USDOJ.GOV
                                                                                           GABESASSON@PAULHASTINGS.COM
                                                                                           KRISHANSEN@PAULHASTINGS.COM
                                                                                           KENPASQUALE@PAULHASTINGS.COM
                                         ATTN: GABE E. SASSON, KRISTOPHER M. HANSEN,       EREZGILAD@PAULHASTINGS.COM
                                         KENNETH PASQUALE, LUC A. DESPINS, AND EREZ E.     LUCDESPINS@PAULHASTINGS.COM
 PAUL HASTINGS                           GILAD                                             SAMANTHAMARTIN@PAULHASTINGS.COM
                                                                                           MLUNN@YCST.COM
 YOUNG CONAWAY STARGATT & TAYLOR, LLP ATTN: MATTHEW B. LUNN, ROBERT F. POPPITI, JR.        RPOPPITI@YCST.COM




In re: FTX Trading Ltd., et al.
Case No. 22‐11068 (JTD)                                       Page 1 of 1
